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 8
                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
10
     NATALIE OCEGUEDA, derivatively on           Case No. _______________
11
     behalf of FACEBOOK, INC.,
12                              Plaintiff,       VERIFIED SHAREHOLDER
                                                 DERIVATIVE COMPLAINT FOR:
13                        vs.

14                                                  1. BREACH OF FIDUCIARY
     MARK ZUCKERBERG, SHERYL
                                                       DUTY;
15   SANDBERG, MARC ANDREESSEN,
                                                    2. AIDING AND ABETTING
     ANDREW W. HOUSTON, ERSKINE B.
16                                                     BREACH OF FIDUCIARY
     BOWLES, JEFFREY D. ZIENTS, SUSAN
                                                       DUTY;
17   DESMOND‐HELLMANN, NANCY
                                                    3. ABUSE OF CONTROL;
     KILLEFER, TRACEY T. TRAVIS, ROBERT
18                                                  4. UNJUST ENRICHMENT;
     M. KIMMITT, REED HASTINGS, PETER
                                                       and
19   A. THIEL, and DOES 1–30,
                              Defendants,           5. VIOLATION OF SECTION
20                                                     14(A) OF THE SECURITIES
                        ‐ and ‐                        EXCHANGE ACT OF 1934.
21
     FACEBOOK, INC.,                             DEMAND FOR JURY TRIAL
22
                            Nominal Defendant.
23

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     Verified Shareholder Derivative Complaint                                   1
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 1          Plaintiff Natalie Ocegueda (“Plaintiff”), by and through counsel, brings this
 2   shareholder derivative action on behalf of Facebook and against certain present and
 3   former directors and officers of Facebook, Inc. (“Facebook” or the “Company”). In
 4   support of these claims, Plaintiff alleges the following (1) upon personal knowledge
 5   with respect to the matters pertaining to Plaintiff and Plaintiff’s ownership of Facebook
 6   stock; and (2) upon information and belief with respect to all other matters, based upon
 7   the investigation undertaken by counsel, which included, inter alia, (a) the Company’s
 8   public filings with the U.S. Securities and Exchange Commission (“SEC”); (b) news
 9   articles, conference call transcripts, analysts’ reports, and press releases; and (c) other
10   publicly available information pertaining to Facebook and the topics addressed herein.
11   Plaintiff believes that substantial additional evidentiary support will exist for the
12   allegations set forth below after a reasonable opportunity for discovery.
13                                       INTRODUCTION
14
           “There were high hopes when Kenneth Chenault joined the all‐white board
15         of Facebook in January 2018 as the social media giant worked to fix its
           tarnished image and battered brand.”1
16

17         “Most corporations do not have black people on their boards and few, if
           any, black people in senior management. This is part of the reason that we
18
           have a high level of racial inequality in the US.”2
19
           “We have an obligation to build a culture of inclusion where everyone can
20
           thrive.”3
21

22

23
            1 See “Former Amex CEO Kenneth Chenault Quits Facebook Board After Zuckerberg
24
     Rejected His Advice,” THE MOGULDOM NATION, Mar. 16, 2020.
25          2 See John Streur, “More engagement needed to get companies to address racial

26   inequality risks and issues,” Calvert Research and Management, June 19, 2020, available
     at        https://www.calvert.com/impact.php?post=more‐engagement‐needed‐to‐get‐
27   companies‐to‐address‐racial‐inequality‐risks‐and‐issues‐&sku=35910, last visited June
     29, 2020.
28          3   Facebook’s 2020 Proxy Statement at p. 53.

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 1          1.    At Facebook, apparently Zuckerberg wants Blacks to be seen but not heard.
 2   In 2018, Facebook created the image that it was trying to diversify its all‐white Board by
 3   hiring highly‐respected and experienced Kenneth Chenault to join its Board. Chenault’s
 4   appointment gave Facebook the guidance of a highly regarded finance executive and
 5   the first Black director on its all‐white board, USA Today reported at the time. But then
 6   Chenault unexpectedly resigned in March of 2020 because he said Zuckerberg was not
 7   listening to his advice. See Jeff Horwitz, “Chenault Leaves Facebook Board After
 8   Disagreements With Zuckerberg,” THE WALL STREET JOURNAL, March 13, 2020 (“Mr.
 9   Chenault grew frustrated that the CEO wasn’t taking his advice”).
10          2.    In short, Facebook’s approach to diversity has been characterized by
11   tokenism: make a small gesture to satisfy appearances, but don’t make any underlying
12   substantial change. The message at Facebook is set at the top – by Zuckerberg and the
13   rest of the Board of Directors (“Board”).
14          3.    But Zuckerberg and the Board have failed to curtail hate speech against
15   Black individuals and other minorities and have failed to achieve real diversity on the
16   Board and among the senior executive ranks, leading to an employee walkout and
17   massive boycott of ad spending on Facebook by over 184 of the Company’s advertisers.
18          4.    On June 1, 2020, after Zuckerberg refused to take down a Trump post
19   stating “When the looting starts, the shooting starts,” which had been widely
20   interpreted to reflect racist views that violence should be used against Black Lives
21   Matters protesters, employees participated in a walkout to protest the Board’s broader
22   failure to curtail hate speech against Blacks and minorities:
23         June 1, 2020. OAKLAND, Calif. — Hundreds of Facebook employees, in
           rare public criticism on Monday of their own company, protested
24         executives’ decision not to do anything about inflammatory posts that
           President Trump had placed on the giant social media platform over the
25         past week.
26         Many of the employees, who said they refused to work in order to show
           their support for demonstrators across the country, added an automated
27         message to their digital profiles and email responses saying that they were
           out of the office in a show of protest. . . More than a dozen current and
28         former employees have described the unrest as the most serious challenge

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           to the leadership of Mark Zuckerberg, the chief executive, since the
 1         company was founded 15 years ago.
 2
           “The hateful rhetoric advocating violence against black demonstrators by
 3         the US President does not warrant defense under the guise of freedom of
           expression,” one Facebook employee wrote in an internal message board,
 4         according to a copy of the text viewed by The New York Times.

 5         The employee added: “Along with Black employees in the company, and
           all persons with a moral conscience, I am calling for Mark to immediately
 6         take down the President’s post advocating violence, murder and imminent
           threat against Black people.”
 7
           . . . Twitter added fact‐check and warning labels to two tweets from the
 8         president that broke Twitter’s rules around voter suppression and
           glorification of violence. But as Twitter acted on Mr. Trump’s tweets,
 9         Facebook left his posts on its platform alone. Mr. Zuckerberg said Mr.
           Trump’s posts did not violate the social network’s rules.
10

11   See Sheera Frenkel, “Facebook Employees Stage Virtual Walkout to Protest Trump Posts,”

12   THE NEW YORK TIMES, June 1, 2020.

13          5.    As Trump and Zuckerberg were well aware, Trump’s statement that

14   “When the looting starts, the shooting starts” has a racially charged history. It dates

15   back to the civil rights era and is known to have been invoked by a white police chief

16   cracking down on protests and a segregationist politician. In 1967, Miami police Chief

17   Walter Headley used the phrase “when the looting starts, the shooting starts” during

18   hearings about crime in the Florida city, invoking angry reactions from civil rights

19   leaders, according to a news report at the time. “He had a long history of bigotry against

20   the black community,” said professor Clarence Lusane of Howard University.

21          6.    “The NAACP and other black organizations had for years complained

22   about the treatment of the black community by Miami police. At this hearing, in

23   discussing how he would deal with what he called crime and thugs and threats by

24   young Black people, he issued this statement that the reason Miami had not had any

25   riots up to that point, was because of the message he had sent out that “when the looting

26   starts, the shooting starts,’” Lusane said. Headley was head of the police force for 20

27   years and referred to his “get tough” policy on crime during a 1967 news conference as

28   a war on “young hoodlums, from 15 to 21, who have taken advantage of the civil rights


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 1   campaign. ... We don’t mind being accused of police brutality.” According to Lusane,
 2   Headley may have borrowed the phrase from Eugene “Bull” Connor, who had been the
 3   notorious public safety commissioner in Birmingham, Alabama. Connor was a
 4   segregationist who directed the use of police dogs and fire hoses against black
 5   demonstrators.4
 6            7.   As demonstrated herein, not only has it failed to achieve meaningful
 7   diversity and inclusion among Black individuals and other minorities, Facebook’s
 8   Board and executives have allowed discriminatory advertising on its platform. In
 9   addition, Facebook’s Board has repeatedly made gross misrepresentations in the
10   Company’s public statements by representing that the Company has effective policies,
11   internal controls, and procedures designed to ensure diversity and to eliminate
12   discriminatory advertising.
13            8.   In 2016, Facebook CEO Mark Zuckerberg wrote, “We care deeply about
14   diversity. Thatʹs easy to say when it means standing up for ideas you agree with. Itʹs a
15   lot harder when it means standing up for the rights of people with different viewpoints
16   to say what they care about. That’s even more important.” But since these words were
17   uttered, Zuckerberg and Facebook have failed to achieve the diversity they claim to
18   prize.
19            9.   Simply put, Facebook’s goals and policies are not being achieved or
20   enforced. Facebook appointed Kenneth Chenault to its Board but did not solicit or listen
21   to Mr. Chenault’s advice. Facebook’s Board, which currently has only one Black
22   individual, has consciously failed to carry out the Company’s written proclamations
23   about increasing diversity in its ranks. Black people and other minorities remain
24   conspicuously underrepresented on the Board as well as among the Company’s
25   executive officers.   In short, Facebook remains one of the oldest and most egregious
26
              See Barbara Sprunt, “The History Behind ʹWhen The Looting Starts, The
              4

27   Shooting       Startsʹ,”       NPR,        May        29, 2020,   available   at
     https://www.npr.org/2020/05/29/864818368/the‐history‐behind‐when‐the‐looting‐
28   starts‐the‐shooting‐starts, last visited June 29, 2020.

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 1   “Old Boy’s Club” in Silicon Valley. A sign advising applicants “Blacks Need Not
 2   Apply” might as well hang at the entrance to the Company’s headquarters at 1 Hacker
 3   Way, Menlo Park, California.
 4          10.   Under pressure to make its workforce more closely resemble the more than
 5   2 billion users it serves, Facebook increased the number of black employees to 4 percent
 6   of U.S. employees in 2018 from 2 percent in 2016. Yet just 1 percent of technical roles are
 7   held by blacks and 2 percent of leadership roles. Black women account for an even
 8   smaller fraction of the workforce. Overall, Facebook employs 278 black women out of a
 9   U.S. workforce of just under 20,000.5
10          11.   While Facebook’s Board does have one Black member – non‐defendant
11   Peggy Alford – Facebook’s entire slate of Executive Officers are all white, with no
12   minorities whatsoever:
13                              FACEBOOK’S MANAGEMENT6
14
                  Mark Zuckerberg
15                Founder, Chairman and Chief Executive Officer
16

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21
     Mark Zuckerberg is the founder, chairman and CEO of Facebook, which he founded
22   in 2004. Mark is responsible for setting the overall direction and product strategy for
23   the company. He leads the design of Facebook’s service and development of its core
     technology and infrastructure. Mark studied computer science at Harvard University
24   before moving the company to Palo Alto, California.
25

26         5 See Jessica Guynn, “Facebook Has a Problem With Black People, Former Employee

27   Charges,” USA TODAY, Nov. 27, 2018.
           6 Source: https://investor.fb.com/corporate‐governance/default.aspx, last visited

28   June 27, 2020.

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 1
                 Sheryl Sandberg
 2               Chief Operating Officer

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     Sheryl Sandberg is chief operating officer at Facebook, overseeing the firm’s business
10   operations. Prior to Facebook, Sheryl was vice president of Global Online Sales and
11   Operations at Google, chief of staff for the United States Treasury Department under
     President Clinton, a management consultant with McKinsey & Company, and an
12   economist with the World Bank.
13

14               Dave Wehner
                 Chief Financial Officer
15

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22   Dave Wehner is chief financial officer of Facebook, where he leads the finance,
     facilities and information technology teams. Prior to becoming CFO in June 2014, Dave
23   served as Facebook’s vice president of Corporate Finance and Business Planning.
24   From 2010 through 2012, Dave served as Chief Financial Officer of Zynga Inc. Before
     Zynga, Dave was a Managing Director at Allen & Company, an investment bank
25   focused on media and technology, which he joined in 2001.
26

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 1          Mike Schroepfer
           Chief Technology Officer
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     Mike Schroepfer is chief technology officer at Facebook. In that role, he leads the
 9
     development of the technology strategies and teams that will enable Facebook to
10   connect billions of people around the world and make significant breakthroughs in
     fields like artificial intelligence and virtual reality. Before Facebook, Mike was vice
11
     president of engineering at Mozilla Corporation, where he led the global and open
12   product development process behind Firefox.
13
                  David Fischer
14
                  Chief Revenue Officer
15

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22   David Fischer is chief revenue officer of Facebook, overseeing the company’s
     advertising business and managing the sales and marketing teams worldwide. Prior to
23
     joining Facebook in 2010, David spent eight years at Google in various roles, including
24   vice president of global online sales and operations, where he helped globalize the
     company’s business and operations. David previously served as deputy chief of staff
25
     of the U.S. Treasury Department and worked on a variety of economic policy issues
26   within the federal government. Prior to that, David was an Associate Editor at U.S.
     News & World Report, where he covered economics and business from Washington,
27
     DC.
28

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 1                Jennifer Newstead
                  General Counsel
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 9   Jennifer G. Newstead is General Counsel of Facebook, where she oversees all legal
     matters, including corporate governance and securities compliance, regulatory
10   oversight, litigation, intellectual property and commercial matters. Prior to joining
11   Facebook in 2019, Jennifer served as the Legal Adviser of the U.S. Department of State,
     where she led the legal team responsible for advising the Secretary of State on all
12   domestic and international legal issues affecting the conduct of U.S. foreign relations.
13   Earlier in her career, she served as General Counsel of the White House Office of
     Management and Budget, as a Principal Deputy Assistant Attorney General of the
14   Office of Legal Policy at the Department of Justice, and as Special Assistant to the
15   President and Associate White House Counsel. Jennifer was a partner for twelve years
     at Davis Polk & Wardwell LLP, where she advised global corporations in litigation,
16   regulatory investigation and compliance matters.
17          12.   Zuckerberg and the Company’s Directors have deceived stockholders and
18   the market by repeatedly making false assertions about the Company’s commitment to
19   diversity. In doing so, the Directors have breached their duty of candor and have also
20   violated the federal proxy laws. Their conduct has also irreparably harmed Facebook.
21   For those who care about diversity, inclusion, and honesty, those who do not adhere to
22   these principles should be boycotted, especially if the perpetrator is one of the largest
23   and most influential corporations in Silicon Valley.
24          13.   Going back to at least 2016, Facebook has been accused of facilitating illegal
25   discrimination based on race, ethnicity, and other protected categories. On August 13,
26   2018, the United States Department of Housing and Urban Development filed a
27   complaint against Facebook in which it alleged that Facebook has violated the Fair
28

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 1   Housing Act by allowing advertising on its platform which discriminates based on race,
 2   ethnicity, gender, and other protected categories. The HUD complaint alleged that:
 3         Facebook unlawfully discriminates by enbling advertisers to restrict which
           Facebook users receive housing‐related ads based on race, color, religion,
 4         sex, familial status, national origin and disability. Facebook mines
           extensive user data and classifies its users based on protected
 5         characteristics. Facebook’s ad targeting tools then invite advertisers to
           express unlawful preferences by suggesting discriminatory options, and
 6         Facebook effecuates the delivery of housing‐related ads to certain users and
           not others based on those users’ actual or imputed protected traits.
 7

 8          14.    As an example of Facebook’s illegal conduct, HUD’s complaint stated that:
 9         Facebook enables advertisers to discriminate based on race and color by
           drawing a red line around majority‐minority zip codes and not showing
10         ads to users who live in those zip codes.7
11
            15.    On September 18, 2018, a complaint was filed against Facebook by the
12
     ACLU for gender discrimination, claiming that Facebook allowed advertisers to target
13
     men for ads such as “Help Wanted” and job ads, and prevent the ads from being seen
14
     by women.
15
            16.    As noted supra, in late May 2020, Facebook came under heavy criticism by
16
     its own employees for refusing to censor or moderate a post from President Trump. In
17
     that post, Trump said “when the looting starts, the shooting starts,” in regards to Black
18
     Lives Matter protesters.
19
            17.    Then, in late June 2020, advertisers announced their intention to boycott
20
     Facebook due to, among other things, the Company’s failure to ban hate speech directed
21
     to Blacks and other minorities
22
            18.    On June 22, 2020, North Face, REI, and Patagonia announced plans to
23
     boycott Facebook and pledged not to pay for advertising on Facebook platforms:
24

25         Several companies have suspended advertising on Facebook over the
           company’s failure to address hate speech on the platform.
26

27
28          7   HUD Complaint at ¶7.

     Verified Shareholder Derivative Complaint                                              10
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           The outdoor apparel and product retailers the North Face, REI, and
 1         Patagonia have pledged not to pay for advertising on Facebook platforms
           as part of the “Stop Hate for Profit” campaign, launched Wednesday by
 2         advocacy groups including the Anti‐Defamation League, the NAACP, and
           the Color Of Change. The freelance job listing site Upwork and the internet
 3         company Mozilla have also joined the pledge.
 4         The movement asks advertisers to pressure the tech giant to adopt stricter
           policies against racist and hateful content on its platforms by pausing all
 5         spending on advertising with the company for the month of July.
           Facebook makes $70bn in annual advertising revenue while “amplifying
 6         the messages of white supremacists” and “permitting incitement to
           violence”, according to the campaign.
 7
           “We have long seen how Facebook has allowed some of the worst elements
 8         of society into our homes and our lives,” said Jonathan Greenblatt, chief
           executive officer of the Anti‐Defamation League, in a statement. “Our
 9         organizations have tried individually and collectively to push Facebook to
           make their platforms safer, but they have repeatedly failed to take
10         meaningful action. We hope this campaign finally shows Facebook how
           much their users and their advertisers want them to make serious changes
11         for the better.”
12         Facebook plans voter turnout push – but will not bar false claims from
           Trump.
13
           James Steyer, founder and CEO of Common Sense, a partner in the
14         campaign, said he expected more companies to join in coming weeks.
           “Companies clearly have heightened awareness around issues of racial
15         justice in the US right now,” he said. “We are heartened by the progress and
           we think it is the right time for this.”
16
           The campaign cites a number of examples to argue Facebook has failed to
17         address misinformation and hate speech: it made Breitbart News a “trusted
           news source” despite its history of working with white nationalists and
18         neo‐Nazis, was accused of allowing housing discrimination against
           communities of color, and failed to remove Holocaust denial posts.
19

20   See Kari Paul, “Facebook Faces Advertiser Revolt Over Failure to Address Hate Speech,” THE
21   GUARDIAN, June 22, 2020.
22          19.   On Friday, June 26, 2020, Unilever announced it was boycotting Facebook
23   and would discontinue its advertising on Facebook:
24
           Unilever, the company behind brands such as Dove, Lipton and
25         Hellmann’s, is pulling advertising from Facebook and Twitter in the U.S.
           for the rest of the year, adding to a growing list of companies protesting the
26         social media site’s handling of hate speech online.

27         Unilever said in a statement it also plans to pull ads from Facebook‐owned
           Instagram this year. Civil rights groups have been pushing companies to
28         put their financial weight behind a Facebook boycott because the social


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           media sites continue to allow hateful and harmful content on their sites,
 1         according to the Anti‐Defamation League.
 2         “Continuing to advertise on these platforms at this time would not add
           value to people and society,” Unilever wrote in a statement on its website.
 3         It cited “the polarized atmosphere in the U.S.”
 4         Unilever joins Patagonia, The North Face and others in announcing a
           temporary advertising boycott on Facebook in the last week. Unilever’s ice
 5         cream brand Ben & Jerry’s had joined the boycott earlier in the week, before
           its parent company. The Hershey Company also said it would halt
 6         advertising on Facebook during July and cut its advertising on the site by
           one‐third for the rest of this year.
 7

 8   See Rachel Lerman, “Facebook faces a growing advertising boycott after consumer goods
 9   giant Unilever joins,” THE WASHINGTON POST, June 26, 2020.
10          20.   In response to the growing list of over 100 advertisers like Unilever that
11   had announced plans by Friday, June 26, 2020 to boycott Facebook due to its repeated
12   failure to ban hate speech, Facebook’s stock tanked 8.3% on June 26, 2020.8
13          21.   On Sunday, June 28, 2020, several additional advertisers announced plans
14   to join Unilever in its boycott of Facebook. Facebook announced plans to finally take
15   some steps to ban hate speech, but the advertisers refused to withdraw from their plans
16   to boycott Facebook, indicating that Zuckerberg’s steps came too late:
17         Facebookʹs efforts to stem a growing client boycott by introducing new
           policies failed over the weekend, with big brands including Diageo,
18         Starbucks and Levi’s pulling spending.
19         Facebook will head into July with dozens of brands including Unilever,
           Verizon and Coca‐Cola cancelling advertising for between a month and six
20         months — despite last‐ditch attempts by the social media network to stop
           the boycott gathering steam.
21
           Facebook’s chief executive Mark Zuckerberg on Friday announced plans on
22         a live stream to prohibit hate speech in ads and better protect groups such
           as immigrants from attack. He also said the group would label posts that
23         violate its policies but remain published because the platform deems it “in
           the public interest”, citing certain speech by politicians as an example.
24

25         The last‐minute changes came just hours after Unilever, among Facebook’s
           larger blue‐chip clients, said it would pause spending on the platform — as
26

27          8By Sunday, June 28, 2020, the list had grown to 184 advertisers that had joined
     the boycott. The list of advertisers had increased to over 300 by July 1, 2020. See
28   “Facebook boycott: View the list of companies pulling ads,” CNN BUSINESS, July 1, 2020.

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           well as on Twitter — in the US, citing concerns about the proliferation of
 1         divisive content in the run‐up to the 2020 presidential election.
 2         Facebook shares fell more than 10 per cent over the course of the week, to
           $212.50 in after‐hours trading on Sunday, while Twitter is down by around
 3         14 per cent over the same period.
 4         Despite Mr. Zuckerberg’s concessions, however, others have joined the list
           with pledges to pull back spending across social media more widely, which
 5         could also deal a blow to smaller groups such as Snap, Twitter and newer
           entrant TikTok.
 6
           In a statement on Sunday, Starbucks said it would “pause advertising on
 7         all social media platforms while we continue discussions internally, with
           our media partners and with civil rights organizations in the effort to stop
 8         the spread of hate speech.”
 9
     See Hannah Murphy, “Facebook Fails to Stem Advertising Boycott Over Hate Speech,”
10   THE FINANCIAL TIMES, June 28, 2020.
11          22.   Every business entity ‐‐ whether publicly traded or not ‐‐ has certain legal
12   obligations and responsibilities to its shareholders, customers, investors, and the public.
13   These responsibilities include the obligation to be truthful and honest; to actually
14   implement the policies and procedures that it represents it has adopted; and to not
15   engage in racial discrimination, whether it is in its workforce or leadership positions.
16   Facebook has failed on all counts.
17          23.   Facebook’s Directors have long failed to ensure that Facebook curbs hate
18   speech towards Blacks and minorities. In 2018, Facebook’s Chief Information Security
19   Officer (“CISO”), Alex Stamos, resigned after internal disagreement with the way the
20   Company handled concerns regarding third parties’ alleged use of the Facebook
21   platform to spread misinformation.
22          24.   The same year, What’s App founder Jan Koum resigned from Facebook’s
23   Board over disagreements with Zuckerberg and other Board members over Facebook’s
24   failure to ensure compliance with certain policies and laws.
25          25.   Platitudes in proxy statements are not progress. Simply put, Facebook has
26   no real commitment to diversity and its Board is turning a blind eye to the Company’s
27   miserable failure to ensure the “diversity” trumpeted by the Directors in the Company’s
28   filings with the SEC and its annual reports to shareholders.

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 1            26.   As demonstrated herein, Defendants knew of, but failed to disclose,
 2   fraudulent business practices at Facebook that put the Company at material risk,
 3   including: (1) discriminatory hiring and pay practices; (2) discriminatory advertising
 4   policies that allowed advertisers to unlawfully target protected minorities and
 5   protected classes; and (3) the Company’s failure to curb hate speech. Facebook’s failure
 6   to disclose this information violated the federal proxy laws since the omitted
 7   information would have been material to shareholders’ voting decisions regarding the
 8   election of directors, approval of executive compensation packages, and shareholder
 9   proposals to require an independent board chairman.
10            27.   The Director Defendants named herein signed one or more of Facebook’s
11   annual proxy statements. With such signatures come an obligation to ensure that the
12   statements in the Proxy were true and accurate, and to correct any misleading
13   statements. They failed to do so.
14            28.   The time for change has come. If Facebook’s directors want to continue to
15   be part of the problem, not the solution, then they at least need to be held liable for their
16   breaches of fiduciary duties to the Company’s stockholders. If, on the other hand, they
17   want to be part of real change, they hold the keys themselves. They can (and should),
18   stand up and exercise the control of the Company that they possess to make change
19   NOW.
20            29.   The shareholder derivative lawsuit has been the only judicial mechanism
21   for shareholders to hold directors accountable for engaging in wrongdoing. Like the
22   United States Supreme Court, California courts have long recognized that derivative
23   suits play an important role in corporate governance where directors fail to do their
24   jobs:
             The derivative action is practically the only remedy for calling the
25           management to account for its wrongs against the corporation and to obtain
             restitution. Where a derivative suit is against outsiders for wrongs against
26           the corporation the directors can usually be expected to decide impartially
             on the advisability of suing. But the management cannot be expected to sue
27           themselves for their own misdeeds.
28

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 1   Pearce v. Super. Ct., 149 Cal. App. 3d 1058, 1065 (1983); see also Vega v. Jones, Day, Reavis
 2   & Pogue, 121 Cal. App. 4th 282, 297 (2004); accord Kamen v. Kemper Fin. Servs., 500 U.S.
 3   90, 95 (1991) (quoting Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 548 (1949)). As
 4   the California Supreme Court recognized in Jones v. H. F. Ahmanson & Co., where, as
 5   here, the company’s board and management fail to perform their duties, stockholders
 6   have a “right” to bring derivative actions. See 1 Cal. 3d 93, 107 (1969). The courts of
 7   Delaware, the Company’s state of incorporation, likewise acknowledge that derivative
 8   actions serve an important function: “The machinery of corporate democracy and the
 9   derivative suit are potent tools to redress the conduct of a torpid or unfaithful
10   management.” Aronson v. Lewis, 473 A.2d 805, 811 (Del. 1984), overruled in part on other
11   grounds by Brehm v. Eisner, 746 A.2d 244 (Del. 2000).
12          30.   Plaintiff, derivatively on behalf of the Company, seeks the following relief
13   from the Director Defendants:
14                (a)    At least two of the Company’s directors should immediately resign
15         prior to the Company’s next annual meeting and should insist that the Company
16         nominate two new persons to serve in their stead, which applicants should
17         include Black and minority persons;
18                (b)    All Director Defendants named in this suit should return all their
19         2020 compensation received from Facebook (including any stock grants), and
20         donate the money to an acceptable charity or organization whose efforts include
21         the advancement of Black people and minorities in corporate America;
22                (c)    Facebook should replace Zuckerberg as Chairman of the Board;
23         Zuckerberg is not independent, and the lack of an independent Chairman at the
24         Company has been a big part of the reason Facebook has not sufficiently made
25         any real progress at achieving diversity;
26                (d)    Facebook should create a $1 billion fund to hire Black individuals
27         and other minorities, promote minorities to more management positions at the
28         Company, establish and maintain a mentorship program at the Company for

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 1         minorities that is committed to providing the skills and mentorship necessary to
 2         succeed in corporate America;
 3                (e)    The Company should require annual training of its entire Board and
 4         all executive officers, which training should at a minimum focus on diversity,
 5         affirmative action, anti‐discrimination and anti‐harassment, pay equity, and other
 6         relevant topics;
 7                (f)    The Company should adopt a revised executive compensation
 8         program that makes 30% of executives’ compensation tied to the achievement of
 9         the diversity goals;
10                (g)    The Company should replace Ernst & Young (“E&Y”) as its auditor.
11         Facebook is one of E&Y’s largest customers, and E&Y has served as Facebook’s
12         auditor since 2007 and was paid $22.3 million in fees by the Company in 2019,
13         giving rise to a cozy and clubby relationship between E&Y and the Company
14         which is not conducive to effective auditing. The Company’s compliance with
15         anti‐discrimination laws and its stated policies concerning the alleged
16         commitment to diversity have been very poor. The very purpose of an auditor is
17         to assess the Company’s internal controls and determining if they are functioning
18         effectively. Rather than doing so, Ernst & Young has wrongfully and consistently
19         given Facebook’s internal controls a clean bill of health and has failed to point out
20         the obvious – that Facebook lacks an effective system of internal controls to ensure
21         that the Company is not discriminating against minorities and other protected
22         classes and is complying with its stated goals and initiatives regarding the
23         promotion of diversity and the avoidance of discrimination and harassment.
24
                                  JURISDICTION AND VENUE
25
            31.   This Court has subject matter jurisdiction over this action under Article III
26
     of the U.S. Constitution and 28 U.S.C. § 1331 because of claims arising under Section
27
     14(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. § 78n(a), and
28

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 1   SEC regulation 14a‐9 promulgated thereunder. The Court has exclusive jurisdiction
 2   under Section 27 of the Exchange Act, 15 U.S.C. § 78aa. The Court has jurisdiction over
 3   the state‐law claims in accordance with 28 U.S.C. § 1367.
 4          32.   This Court also has subject matter jurisdiction over this action under Article
 5   III of the U.S. Constitution and 28 U.S.C. § 1332 because Plaintiff and Defendants are
 6   citizens of different States and the amount in controversy exceeds the sum or value of
 7   $75,000, exclusive of interest and costs.
 8          33.   This Court has jurisdiction over Defendants. Each Defendant is either a
 9   resident of California or otherwise has sufficient contacts with California in order to
10   render the exercise of jurisdiction by this Court over them permissible under traditional
11   notions of fair play and substantial justice.       Additionally, in connection with the
12   misconduct alleged herein, Defendants, directly or indirectly, used the means and
13   instrumentalities of interstate commerce, including the United States mails, interstate
14   telephone communications, and the facilities of the national securities markets. The
15   Court has jurisdiction over Facebook because Facebook is headquartered in Menlo Park,
16   California and has substantial business operations in California.
17          34.   Venue is proper in this District in accordance with Section 27 of the
18   Exchange Act. Venue is also proper under 28 U.S.C. § 1391(b) because: (i) Facebook
19   maintains its principal place of business in, and has its most significant contacts with,
20   this District; (ii) one or more of the Defendants resides in this District; (iii) a substantial
21   portion of the transactions and wrongs complained of in this complaint occurred in this
22   District; and (iv) Defendants received substantial compensation in this District by doing
23   business here and engaging in numerous activities that had effects in this District.
24                              INTRADISTRICT ASSIGNMENT
25          35.   In compliance with Local Rule 3‐2(b), Plaintiff requests that this action be
26   assigned to the San Francisco Division of this District because a substantial part of the
27   events or conduct giving rise to the claims in this action occurred in the County of San
28   Mateo.

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                                             PARTIES
 1
     I.     Plaintiff
 2
             36.   Plaintiff Natalie Ocegueda is a current Facebook shareholder and has
 3
     continuously held her Facebook stock since May 21, 2012.
 4
     II.    Nominal Defendant
 5
             37.   Nominal defendant Facebook is a Delaware corporation headquartered at
 6
     1601 Willow Road, Menlo Park, California 94025.             Facebook operates a social
 7
     networking website that allows people to communicate with their family, friends, and
 8
     coworkers. Facebook develops technologies that facilitate the sharing of information,
 9
     photographs, website links, and videos. Facebook users have the ability to share and
10
     restrict information based on their own specific criteria. By the end of 2017, Facebook
11
     had more than 2.2 billion active users. The Company’s mission is “to give people the
12
     power to build community and bring the world closer together. People use Facebook
13
     to stay connected with friends and family, to discover what’s going on in the world, and
14
     to share and express what matters to them.”          Facebook’s securities trade on the
15
     NASDAQ under the ticker symbol “FB.”           Facebook is a citizen of Delaware and
16
     California.
17
     III.   Individual Defendants
18
             38.   Defendant Mark Zuckerberg is the Founder, Chairman and Chief
19
     Executive Officer (“CEO”) of Facebook. Zuckerberg is responsible for Facebook’s day‐
20
     to‐day operations, as well as the overall direction and product strategy of the Company,
21
     and is the Company’s controlling stockholder with ownership of stock and proxies for
22
     stock representing more than 60% of Facebook’s voting power, though he owns 16% of
23
     Facebook’s total equity value. Zuckerberg is a citizen of California.
24
             39.   Defendant Sheryl Sandberg is the Chief Operating Officer (“COO”) of
25
     Facebook since 2008. Sandberg is also a member of Facebook’s Board and has been a
26
     director since 2012. Sandberg is a citizen of California.
27
             40.   Defendant Marc Andreessen is a member of the Board and has been a
28

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 1   director since June 2008. Andreessen is a member of Facebook’s Audit Committee and
 2   Compensation & Governance Committee. Andreessen is a citizen of California.
 3          41.    Defendant Andrew W. Houston is a Director of Facebook and has been a
 4   director since February 2020. Houston reviewed & approved Facebook’s 2020 Proxy
 5   Statement. Houston is not sued herein for any conduct that pre‐dated his joining of the
 6   Board in February 2020.
 7          42.    Defendant Erskine B. Bowles was a member of the Board from September
 8   2011 until at least April 12, 2019. Bowles serves as the Chair of the Company’s Audit
 9   Committee. Bowles is a citizen of North Carolina. Bowles reviewed and approved the
10   Company’s 2019 Proxy.
11          43.    Defendant Jeffrey D. Zients was a member of the Board from May 2018
12   until April 10, 2020. Zients served as the Chair of the Company’s Audit & Risk
13   Oversight Committee. Zients is a citizen of Maryland. Zients reviewed and approved
14   the Company’s 2019 Proxy.
15          44.    Defendant Dr. Susan Desmond‐Hellmann was a member of the Board from
16   March 2013 until October 30, 2019. Desmond‐Hellmann was a member of Facebook’s
17   Audit Committee and was the Company’s Lead Independent Director; she reviewed
18   and approved the Company’s 2019 Proxy Statement. Desmond‐Hellmann is a citizen
19   of Washington.
20          45.    Defendant Nancy Killefer is a Director of Facebook and has been a director
21   since March 2020. Killefer reviewed & approved Facebook’s 2020 Proxy Statement.
22   Killefer is not sued herein for any conduct that pre‐dated her joining of the Board in
23   March 2020.
24          46.    Defendant Tracey T. Travis is a Director of Facebook and has been a
25   director since March 2020.      Travis reviewed & approved Facebook’s 2020 Proxy
26   Statement. Tracey is not sued herein for any conduct that pre‐dated her joining of the
27   Board in March 2020.
28          47.    Defendant Robert M. Kimmitt is a Director of Facebook and has been a

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 1   director since March 2020. Kimmitt reviewed & approved Facebook’s 2020 Proxy
 2   Statement. Kimmitt is not sued herein for any conduct that pre‐dated his joining of the
 3   Board in March 2020.
 4          48.   Defendant Reed Hastings was a member of the Board from June 2011 until
 5   at least April 12, 2019. Hastings reviewed and approved the Company’s 2019 Proxy.
 6   Hastings served as Chair of the Company’s Compensation & Governance Committee
 7   during his tenure on the Board. Hastings is a co‐founder of Netflix, and currently serves
 8   as its CEO and Chairman of its board of directors. Hastings is a citizen of California.
 9          49.   Defendant Peter A. Thiel is a member of the Board and has been a director
10   since April 2005. Thiel is a member of the Company’s Compensation & Governance
11   Committee. Thiel was one of the early investors in Facebook. He co‐founded PayPal,
12   Inc., and has been a Partner of the Founders Fund, a venture capital firm that strives to
13   keep founders in control of the companies they have created, since 2005. Thiel is a
14   citizen of California.
15          50.   Defendants Zuckerberg, Sandberg, Andreessen, Thiel, Kimmitt, Hastings,
16   Bowles, Desmond‐Hellmann, Travis, Killefer, and Houston are collectively referred to
17   as the “Director Defendants,” “Individual Defendants,” or “Defendants.”
18   IV.   The Doe Defendants
19          51.   Various other individuals, partnerships, corporations, and other business
20   entities have participated in the violations alleged herein and have performed acts and
21   made statements in furtherance thereof. The true names and capacities, whether
22   individual, corporate, associate, or otherwise of Defendants Does 1 through 30,
23   inclusive, are unknown to Plaintiff at this time. Plaintiff therefore sues Defendants Does
24   1 through 30 by such fictitious names. Plaintiff further alleges that each of the Doe
25   Defendants is responsible for the acts and occurrences hereinafter set forth. Plaintiff
26   will amend this complaint to (a) show their true names and capacities when such
27   information is ascertained; and (b) allege the manner in which each Doe Defendant is
28   responsible for the damages sustained by Facebook and its shareholders

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                                  FACTUAL ALLEGATIONS
 1
     I.    During the Relevant Period, the Individual Defendants Repeatedly
 2         Emphasized the Importance of Diversity and Preventing Discrimination
 3          52.   Facebook has repeatedly stated that it is committed to diversity and
 4   inclusion. The Company’s 2019 Proxy stated:
 5                Diversity & Inclusion
 6         We are committed to building a workforce that is as diverse as the
           communities we serve. We support an open culture and encourage our
 7         workforce to bring their authentic selves to work.
 8         We publish our global gender diversity and U.S. ethnic diversity workforce
           data annually. Our diversity report for 2018 is available at
 9         https://www.facebook.com/careers/diversity‐report. To support our goals
           of diversifying our workforce, we globally rolled out our Diverse Slate
10         Approach, which sets the expectation that hiring managers will consider
           candidates from underrepresented backgrounds when interviewing for an
11         open position. We have seen steady increases in hiring rates for
           underrepresented people since we started testing this approach in 2015. We
12         also continue to expand our recruiting team and develop internship
           programs for women and minorities. Over 500 students have graduated
13         from Facebook University, our training program for college freshmen from
           underrepresented groups with an interest in STEM/CS. Many have
14         returned to work at Facebook.
15
           We believe retention, people development, and inclusion are just as crucial
16         as recruiting. This is why we invest in our thriving Facebook Resource
           Groups and our annual Community events such as Womenʹs Community
17         Summit, Black Community Summit, Latin Community Summit, and Pride
           Community Summit. These all help build community and support
18         professional development. They are designed to empower, inspire, and
           provide resources to help our people grow professionally. We encourage
19         all employees to take our ʺManaging Unconscious Biasʺ training to help
           reduce the effects of bias in the workplace and to help employees better
20         understand diverse perspectives. In 2015, we made this training available
           publicly at https://managingbias.fb.com. We have since added many new
21         internal programs, including: Managing Inclusion and Be The Ally.
           Managing Inclusion trains managers to understand the issues that affect
22         underrepresented communities and to actively solicit input from people
           who may feel excluded. Be The Ally gives everyone at Facebook the
23         common language, tools, and space to identify when someone may be
           experiencing bias and to stand up in support of them.
24
           We are committed to a policy of inclusiveness and to pursuing diversity in
25         terms of background and perspective when evaluating candidates for
           membership on our board of directors. Under our corporate governance
26         guidelines, it is the policy of our board of directors to consider candidates
           with diverse backgrounds in terms of knowledge, experience, skills, and
27         other characteristics, and to ensure that the initial list of candidates from
           which new director nominees are chosen includes candidates with a
28

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           diversity of race, ethnicity, and gender. Our corporate governance
 1         guidelines are available at http://investor.fb.com/governance.cfm.
 2
           We are also committed to promoting diversity among the companies that
 3         do business with Facebook. We believe that having diverse suppliers helps
           us build better products for our global community. Through our Supplier
 4         Diversity Program, we connect qualified diverse‐owned businesses to our
           community while also helping these companies grow their businesses by
 5         using our apps and services. We publish information on our Supplier
           Diversity Program at https://www.facebook.com/suppliers/diversity.9
 6
            53.     The 2020 Proxy Statement approved by the Individual Defendants stated:
 7
           “We have an obligation to build a culture of inclusion where everyone can thrive.”
 8

 9   II.   Defendants Had Knowledge of the Company’s Violations of Law and Failed to
           Act in the Face of Numerous “Red Flag” Warnings
10
            54.     The Board was required to oversee Facebook’s compliance with anti‐
11
     discrimination and other applicable laws, and to implement and monitor a reasonable
12
     system of internal controls and policies relating to anti‐discrimination, diversity, and
13
     inclusion.
14
            55.     Yet, during the relevant period, Defendants failed to act in the face of
15
     numerous “red flag” warnings indicating that the Company’s internal controls and
16
     policies were not only insufficient, but actually fostered the discriminatory issues that
17
     ultimately resulted in discriminatory practices, a lack of diversity on the Board and
18
     among the Company’s executive ranks, and the Company’s repeated failure to stop hate
19
     speech that resulted in a massive boycott by advertisers.
20
            56.     Going back to at least 2016, Facebook has been accused of facilitating illegal
21
     discrimination based on race, ethnicity, and other protected categories.
22
            57.     On April 10, 2018, Zuckerberg was called to testify before the Senate
23
     Judiciary and Commerce Committees about Facebook’s history allowing advertisers to
24
     discriminate by race in housing ads. The hearing was noteworthy for many reasons,
25
     including the fact that it was Zuckerberg’s first testimony before Congress. In the past,
26
     Zuckerberg had sent deputies to testify, but due to the severity of the problems facing
27
28
            9   See 2019 Proxy at pp. 47‐48.

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 1   Facebook Congress had demanded that Zuckerberg himself appear. The Individual
 2   Defendants were well aware of these facts which had required Zuckerberg to make a
 3   personal appearance on the Hill. As noted by NPR at the time:
 4         The remarkable hearing was a bit of a spectacle, at least by Senate
           committee hearing standards. It was also Zuckerbergʹs first appearance
 5         before Congress. He was the only witness in the joint session and will also
           be testifying before the House Energy and Commerce Committee on
 6         Wednesday.10
 7          58.   The following is a picture of Zuckerberg’s testimony that appeared in the
 8   New York Times at the time:
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22          59.   While Zuckerberg was grilled on many topics at the hearing, he was asked
23   many questions about Facebook’s facilitation of discriminatory ads, as noted by news
24   articles at the time:
25         “Topics Zuckerberg addressed include:
26

27
             See Camilia Domonoske, “Mark Zuckerberg Tells Senate: Election Security Is An
            10
28   ʹArms Raceʹ,” NPR, April 10, 2018.

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 1         Whoʹs responsible for identifying violations: Sen. Chris Coons, D‐Del.,
           asked why Facebook puts the burden on users to flag content that needs to
 2         be taken down. Zuckerberg cited the ʺsheer volumeʺ of material on
           Facebook and said new hires and AI tools will help improve the process
 3         over time. ʺWe canʹt wait five years for Facebook to get rid of housing
           discrimination content,ʺ Coons said, referring to allegations that the site
 4         lets housing and rental companies restrict who can see their ads, by
           excluding, for example, certain races.
 5
            60.   The New York Times also ran an article regarding questions from Senator
 6
     Booker about Facebook’s discriminatory ads:
 7
           Booker raised concerns about racial targeting
 8
           Senator Cory Booker, Democrat of New Jersey, questioned Mr. Zuckerberg
 9         over discriminatory uses of Facebook’s advertising platform to target ads
           to users by race, and tools that law enforcement officials have reportedly
10         used to surveil activists of color.
11         Mr. Booker’s questioning is notable given that he and Mr. Zuckerberg have
           a history of friendly collaboration dating back to 2010, when Mr.
12         Zuckerberg donated $100 million to the public school system in Newark,
           where Mr. Booker was mayor at the time.
13
           Mr. Booker has long been seen as a tech‐friendly lawmaker, and he has
14         known Mr. Zuckerberg for longer than most lawmakers. His tough stance
           today is a sign of how dramatically the political winds around Facebook
15         have shifted.11
16          61.   Moreover, in his prepared written remarks disseminated to Congress and
17   publicly posted prior to his testimony before Congress, Zuckerberg admitted the need
18   to fix issues with Facebook’s advertising policies:
19         Strengthening our advertising policies. We know some Members of
           Congress are exploring ways to increase transparency around political or
20         issue advertising, and we’re happy to keep working with Congress on that.
           But we aren’t waiting for legislation to act.12
21
            62.   Thus, Zuckerberg and the Individual Defendants were aware of, and
22
     admitted, problems with Facebook’s advertising policies on April 10, 2018.          The
23
     following picture accompanied one of the New York Times articles at the time to
24
     emphasize the widespread call for substantial change necessary at Facebook:
25

26          11 See “Mark Zuckerberg Testimony: Senators Question Facebook’s Commitment to

     Privacy,” THE NEW YORK TIMES, April 10, 2018.
27
            12Available at https://apps.npr.org/documents/document.html?id=4435458‐
28   Zuckerberg‐Opening‐Statement‐Senate‐Testimony, last visited June 30, 2020.

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            63.    Nonetheless, and despite Zuckerberg’s representation that Facebook
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     would fix the problems on its own and would not wait for Congress to pass a law to
14
     force it to make the changes, the Individual Defendants failed to take the admitted
15
     necessary corrective action subsequent to April 10, 2018. Indeed, the illegal and
16
     discriminatory advertising continued and even proliferated after the April 10, 2018
17
     Congressional hearing.
18
            64.   On July 12, 2018, an article was published in USA Today entitled
19
     “Facebookʹs diversity efforts failing African‐American and Hispanic women.” The
20
     article noted that:
21
           SAN FRANCISCO — Facebook is inching toward increasing the diversity
22         of its workforce but it still has a big problem: Itʹs hiring very few black and
           Hispanic women.
23
           The social media giant’s latest diversity report released Thursday shows
24         strides in boosting the ranks of some groups who’ve been underrepresented
           at Facebook from the beginning, but a closer look at the raw numbers
25         reveals that these women of color are being largely left out of any progress.
26         You can almost count on one hand the number of black women – six – who
           work as senior managers or executives at Facebook in the U.S., accounting
27         for less than 1 percent of those 769 jobs. The next layer of managers at
           Facebook isnʹt more diverse: 34 out of a total of 2,816, or 1.2 percent.
28

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 1          65.     On August 13, 2018, the United States Department of Housing and Urban
 2   Development filed a complaint against Facebook in which it alleged that Facebook has
 3   violated the Fair Housing Act by allowing advertising on its platform which
 4   discriminates based on race, ethnicity, gender, and other protected categories. The
 5   HUD complaint alleged that:
 6         Facebook unlawfully discriminates by enbling advertisers to restrict which
           Facebook users receive housing‐related ads based on race, color, religion,
 7         sex, familial status, national origin and disability. Facebook mines
           extensive user data and classifies its users based on protected
 8         characteristics. Facebook’s ad targeting tools then invite advertisers to
           express unlawful preferences by suggesting discriminatory options, and
 9         Facebook effecuates the delivery of housing‐related ads to certain users and
           not others based on those users’ actual or imputed protected traits.
10

11          66.     As an example of Facebook’s illegal conduct, HUD’s complaint stated that:
12         Facebook enables advertisers to discriminate based on race and color by
           drawing a red line around majority‐minority zip codes and not showing
13         ads to users who live in those zip codes.13
14          67.     On September 18, 2018, a complaint was filed against Facebook by the
15   ACLU for gender discrimination, claiming that Facebook allowed advertisers to target
16   men for ads such as “Help Wanted” and job ads, and prevent the ads from being seen
17   by women. This complaint was brought to the attention of the Individual Defendants.
18          68.     On November 27, 2018, an article entitled “Facebook Has a Problem With
19   Black People, Former Employee Charges” was published in USA Today. The article
20   stated in part:
21         SAN FRANCISCO – Facebook has a problem with black people.
           Thatʹs the assessment of Mark Luckie, a former employee who says racial
22         discrimination is real, both on the companyʹs Silicon Valley campus and on the
           social media giantʹs platform.
23
           A Facebook post he shared with management and employees earlier this
24         month and released publicly on Tuesday exposes racial fault lines that
           Luckie says should be a matter of grave public alarm, with the lack of
25

26

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28
            13   HUD Complaint at ¶7.

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           representation and agency of black people inside Facebook directly
 1         affecting how black people on Facebook are treated.14
 2          69.        The USA Today article went on to state:
 3         Facebook has struggled for years to reverse hiring patterns that excluded
           underrepresented minorities and to create a corporate culture that
 4         welcomes them. At the same time, the lack of diversity in its workforce has
           translated into problems with the black community, which has high rates
 5         of engagement on Facebook. Complaints have escalated from African‐
           Americans that they are being unfairly targeted and censored for fighting
 6         back against racism on the platform after being falsely accused of using hate
           speech.
 7
           That disenfranchisement of black people on Facebook is a direct result of
 8         how the few black employees who work there are marginalized inside the
           company, says Luckie, a digital strategist and former journalist whoʹs also
 9         worked at Twitter and Reddit, as well as The Washington Post and The Los
           Angeles Times.
10
           Black staffers at Facebook frequently complain of colleagues or managers
11         calling them aggressive or hostile for how they share their thoughts, he
           says. A few black employees said they were dissuaded by managers from
12         becoming involved in internal groups for black employees or doing “black
           stuff.” Black employees also told stories of being “aggressively accosted”
13         by campus security. Luckie says at least two to three times a day, a
           Facebook employee would clutch their wallet when walking by him.15
14

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         Former employee Mark S. Luckie says Facebook has a problem with Black people.
25

26
           14 See Jessica Guynn, “Facebook Has a Problem With Black People, Former Employee
27
     Charges,” USA TODAY, Nov. 27, 2018.
28          15   Id.

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 1          70.        These stories from the Company’s own employees demonstrate that
 2   Facebook has very few Blacks among its employees. The employees indicate that
 3   “colleagues or managers call[] them aggressive or hostile for how they share their thoughts.”
 4   Even among the very top, on the Board itself, Mr. Chenault resigned because
 5   Zuckerberg himself did not want to hear Mr. Chenault’s opinions; he just wanted him
 6   on the Board as a token Black for appearances, to make it look like Facebook valued
 7   diversity.
 8          71.        And the Individual Defendants had actual knowledge of the USA Today
 9   article, as reflected by the fact that the reporter contacted Facebook prior to publication
10   of the article for the Company’s position on the article, and Facebook responded. As
11   noted in the article:
12         In an emailed statement, Facebook spokesman Anthony Harrison said the
           company is working to increase the range of perspectives of those who
13         build its products.
14         ʺThe growth in representation of people from more diverse groups,
           working in many different functions across the company, is a key driver of
15         our ability to succeed,ʺ Harrison said.16
16          72.        Facebook’s response to the discrimination voiced by its own employees
17   was again platitudes and empty promises to change. Mr. Luckie was all too aware of
18   this and told USA Today that:
19         ʺI know from being inside Facebook that Facebook doesn’t take any action
           against the bad things that it has done unless it’s held publicly
20         accountable,ʺ Luckie told USA TODAY.17
21          73.        The USA Today article reported on an internal post that Mr. Luckie made
22   on Facebook’s employee platform while he was still working there. After Mr. Luckie
23   made the post, other Black employees responded to his post and indicated they too had
24   experienced discrimination and marginalization at Facebook:
25

26

27          16   Id.

28
            17   Id.

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 1         This truly resonated with me and flooded me with emotions and sadness
           that I am sure that plenty of us are all too familiar with from experiencing
 2         many of the examples you provided,ʺ commented one fellow employee.
 3         One employee, who is new to Facebook, said she had already observed and
           heard stories of marginalization and mistreatment. ʺVery disheartening
 4         considering how much love Black employees have for this company,ʺ she
           commented.
 5         Others said they hoped Luckieʹs post would get the attention of senior
           management. Luckie tagged Facebook’s Chief Executive Mark Zuckerberg
 6         and Chief Operating Officer Sheryl Sandberg in the Facebook post but he
           says they never responded.18
 7

 8          74.        The article also noted that:

 9         At Facebook, which is mostly white, Asian and male, sensitivity to the Black
           Lives Matter movement has not always been evident. In 2016, Facebook
10         employees crossed out ʺBlack Lives Matterʺ and wrote ʺAll Lives Matterʺ
           on the walls of the companyʹs campus. . .
11
           Brought on board to build partnerships with the black community, Luckie
12         says he arrived at Facebook hopeful that he could bring about change, only
           to have his efforts stymied and underfunded at every turn. On Facebookʹs
13         Menlo Park, California, campus, where Black Lives Matter posters
           frequently outnumber black employees, he says he encountered racism.19
14
            75.        On February 22, 2020, an article was published in SHRM ONLINE entitled
15
     “Black Tech Employees Continue to Face Workplace Racism” which followed up on the
16
     Nov. 27, 2018 USA Today article about Mr. Luckie. The article noted that:
17
           An anonymous memo alleging Facebook still has a problem with racial bias
18         is circulating inside the company one year after a former employee
           complained of racism and discrimination there, USA Today reported in
19         November 2019.

20         The post from 12 current and former employees, first reported by Business
           Insider, details a number of incidents, suggesting morale has sunk even
21         lower since Mark Luckie published his Facebook post about discrimination
           on the companyʹs Silicon Valley campus and on the social media giantʹs
22         platform.

23          76.        In March 2019, the Company settled five discrimination lawsuits in part by

24   removing age, gender and ZIP Code targeting for housing, employment and credit‐

25   related ads.

26

27          18   Id.

28
            19   Id.

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 1            77.   Also in 2019, the Individual Defendants received an audit performed by
 2   Ernst & Young concerning how Facebook measures and reports data about video
 3   advertisements, which revealed deficiencies in Facebook’s processes and internal
 4   controls. In addition, in the spring of 2020 the Media Rating Council warned Facebook
 5   that it could be denied a seal of approval that gives companies confidence they are
 6   getting what they pay for when it comes to advertising on its platforms. The notice said
 7   that Facebook had failed to address advertiser concerns identified in the E&Y 2019
 8   audit.
 9            78.   On October 24, 2019, Mr. Zuckerberg was required to testify before the
10   House Financial Services Committee about several issues, during which he faced
11   questions about Facebook’s discrimination in advertising from Rep. Maxine Waters and
12   Rep. Alexandria Ocasio‐Cortez. The testimony was broadcast live on television and all
13   major news outlets ran stories about the testimony, of which the Individual Defendants
14   were well aware. Forbes ran an article which noted:
15         Facebook cofounder and CEO Mark Zuckerberg was hauled before
           Congress on Wednesday. . . Democratic congresswoman and committee
16         chair, Maxine Waters, immediately laid into Zuckerberg right from the
           start. Waters made it abundantly clear that the hearing, in addition to the
17         core focus on Libra, would also include an array of charges previously
           levied against the social network. This includes allegations of violations
18         of user privacy, running a monopoly, permitting discrimination within the
           company, allowing advertisements that engage in housing discrimination,
19         violations of election security, permitting misleading political ads, offering
           a haven for hate groups and raising the issue of breaking up Facebook.
20
           ʺI have come to the conclusion that it would be beneficial for all if Facebook
21         concentrates on addressing its many existing deficiencies and failures
           before proceeding any further on the Libra project,ʺ said Waters.20
22
              79.   In late May 2020, Facebook came under heavy criticism by its own
23
     employees for refusing to censor or moderate a post from President Trump. In that
24
     post, Trump said “when the looting starts, the shooting starts,” in regards to Black Lives
25
     Matter protesters.
26

27
              See Jack Kelly, “Facebook CEO Mark Zuckerberg Lambasted Before Congress Over
              20
28   Libra, Data Privacy and Fake Political Ads,” FORBES, Oct. 24, 2019.

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 1          80.   Then, in late June 2020, advertisers have announced their intention to
 2   boycott Facebook due to, among other things, the Company’s failure to ban hate speech
 3   directed to Blacks and other minorities
 4          81.   On June 22, 2020, North Face, REI, and Patagonia announced plans to
 5   boycott Facebook and pledged not to pay for advertising on Facebook platforms:
 6         Several companies have suspended advertising on Facebook over the
           company’s failure to address hate speech on the platform.
 7
           The outdoor apparel and product retailers the North Face, REI, and
 8         Patagonia have pledged not to pay for advertising on Facebook platforms
           as part of the “Stop Hate for Profit” campaign, launched Wednesday by
 9         advocacy groups including the Anti‐Defamation League, the NAACP, and
           the Color Of Change. The freelance job listing site Upwork and the internet
10         company Mozilla have also joined the pledge.
11         The movement asks advertisers to pressure the tech giant to adopt stricter
           policies against racist and hateful content on its platforms by pausing all
12         spending on advertising with the company for the month of July.
           Facebook makes $70bn in annual advertising revenue while “amplifying
13         the messages of white supremacists” and “permitting incitement to
           violence”, according to the campaign.
14
           “We have long seen how Facebook has allowed some of the worst elements
15         of society into our homes and our lives,” said Jonathan Greenblatt, chief
           executive officer of the Anti‐Defamation League, in a statement. “Our
16         organizations have tried individually and collectively to push Facebook to
           make their platforms safer, but they have repeatedly failed to take
17         meaningful action. We hope this campaign finally shows Facebook how
           much their users and their advertisers want them to make serious changes
18         for the better.”
19         Facebook plans voter turnout push – but will not bar false claims from
           Trump.
20
           James Steyer, founder and CEO of Common Sense, a partner in the
21         campaign, said he expected more companies to join in coming weeks.
           “Companies clearly have heightened awareness around issues of racial
22         justice in the US right now,” he said. “We are heartened by the progress and
           we think it is the right time for this.”
23
           The campaign cites a number of examples to argue Facebook has failed to
24         address misinformation and hate speech: it made Breitbart News a “trusted
           news source” despite its history of working with white nationalists and
25         neo‐Nazis, was accused of allowing housing discrimination against
           communities of color, and failed to remove Holocaust denial posts.
26

27   See Kari Paul, “Facebook Faces Advertiser Revolt Over Failure to Address Hate Speech,” THE
     GUARDIAN, June 22, 2020.
28

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 1          82.   On Friday, June 26, 2020, Unilever announced it was boycotting Facebook
 2   and would discontinue its advertising on Facebook:
 3         Unilever, the company behind brands such as Dove, Lipton and
           Hellmann’s, is pulling advertising from Facebook and Twitter in the U.S.
 4         for the rest of the year, adding to a growing list of companies protesting the
           social media site’s handling of hate speech online.
 5
           Unilever said in a statement it also plans to pull ads from Facebook‐owned
 6         Instagram this year. Civil rights groups have been pushing companies to
           put their financial weight behind a Facebook boycott because the social
 7         media sites continue to allow hateful and harmful content on their sites,
           according to the Anti‐Defamation League.
 8
           “Continuing to advertise on these platforms at this time would not add
 9         value to people and society,” Unilever wrote in a statement on its website.
           It cited “the polarized atmosphere in the U.S.”
10
           Unilever joins Patagonia, The North Face and others in announcing a
11         temporary advertising boycott on Facebook in the last week. Unilever’s ice
           cream brand Ben & Jerry’s had joined the boycott earlier in the week, before
12         its parent company. The Hershey Company also said it would halt
           advertising on Facebook during July and cut its advertising on the site by
13         one‐third for the rest of this year.
14
     See Rachel Lerman, “Facebook faces a growing advertising boycott after consumer goods
15   giant Unilever joins,” THE WASHINGTON POST, June 26, 2020.

16          83.   In response to the growing list of over 100 advertisers like Unilever that

17   had announced plans by Friday, June 26, 2020 to boycott Facebook due to its repeated

18   failure to ban hate speech, Facebook’s stock tanked 8.3% on June 26, 2020.21

19          84.   On Sunday, June 28, 2020, several additional advertisers announced plans

20   to join Unilever in its boycott of Facebook. Facebook announced plans to finally take

21   some steps to ban hate speech, but the advertisers refused to withdraw from their plans

22   to boycott Facebook, indicating that Zuckerberg’s steps came too late:

23         Facebookʹs efforts to stem a growing client boycott by introducing new
           policies failed over the weekend, with big brands including Diageo,
24         Starbucks and Levi’s pulling spending.
25

26
            21 By Sunday, June 28, 2020, the list had grown to 184 advertisers that had joined
27   the      boycott.         The      list      of    advertisers    is     available      at
     https://docs.google.com/spreadsheets/d/1VSGhDwXm18yFf2BVCz0QJYFjCHrPhDuO‐
28   m5rCo0zoqI/edit#gid=0, last visited June 28, 2020.

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 1         Facebook will head into July with dozens of brands including Unilever,
           Verizon and Coca‐Cola cancelling advertising for between a month and six
 2         months — despite last‐ditch attempts by the social media network to stop
           the boycott gathering steam.
 3
           Facebook’s chief executive Mark Zuckerberg on Friday announced plans on
 4         a live stream to prohibit hate speech in ads and better protect groups such
           as immigrants from attack. He also said the group would label posts that
 5         violate its policies but remain published because the platform deems it “in
           the public interest”, citing certain speech by politicians as an example.
 6
           The last‐minute changes came just hours after Unilever, among Facebook’s
 7         larger blue‐chip clients, said it would pause spending on the platform — as
           well as on Twitter — in the US, citing concerns about the proliferation of
 8         divisive content in the run‐up to the 2020 presidential election.
 9         Facebook shares fell more than 10 per cent over the course of the week, to
           $212.50 in after‐hours trading on Sunday, while Twitter is down by around
10         14 per cent over the same period.
11         Despite Mr. Zuckerberg’s concessions, however, others have joined the list
           with pledges to pull back spending across social media more widely, which
12         could also deal a blow to smaller groups such as Snap, Twitter and newer
           entrant TikTok.
13
           In a statement on Sunday, Starbucks said it would “pause advertising on
14         all social media platforms while we continue discussions internally, with
           our media partners and with civil rights organizations in the effort to stop
15         the spread of hate speech.”
16
     See Hannah Murphy, “Facebook Fails to Stem Advertising Boycott Over Hate Speech,” THE
17   FINANCIAL TIMES, June 28, 2020.
18          85.   Every business entity ‐‐ whether publicly traded or not ‐‐ has certain legal
19   obligations and responsibilities to its shareholders, customers, investors, and the public.
20   These responsibilities include the obligation to be truthful and honest; to actually
21   implement the policies and procedures that it represents it has adopted; and to not
22   engage in racial discrimination, whether it is in its workforce or leadership positions.
23   Facebook has failed on all counts.
24          86.   Facebook’s Directors have long failed to ensure that Facebook curbs hate
25   speech towards Blacks and minorities.         In 2018, Facebook’s CISO, Alex Stamos,
26   resigned after internal disagreement with the way the Company handled concerns
27   regarding third parties’ alleged use of the Facebook platform to spread misinformation.
28

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 1           87.   The same year, What’s App founder Jan Koum resigned from Facebook’s
 2   Board over disagreements with Zuckerberg and other Board members over Facebook’s
 3   failure to ensure compliance with certain policies and laws.
 4           88.   As Calvert Research & Management recently noted:
 5          “We are a country suffering from racial inequality. And we want the
            inequality and suffering to end. Enough people agree with these points that
 6          this issue has become a matter that will impact every corporation doing
            business in this country. Companies that are capable of understanding their
 7          roles in taking effective action to end inequality will benefit operationally
            and reputationally; those that refuse to acknowledge their exposure to this
 8          massive problem or that are incapable of swift and effective action will
            struggle to maintain their competitive positions as employers and with
 9          consumers.”22
10
             89.   Facebook’s directors have failed to take effective action against
11
     discrimination in all its various forms, and have failed to effectuate diversity and
12
     inclusion on the Board itself and the Company’s executive ranks. The time has come
13
     for them to be held liable for causing damage to the Company, including damage to its
14
     reputation and competitive position.
15

16   III.   Defendants’ Duties and Roles at Facebook
17           90.   The following chart reflects the Director Defendants’ roles on the
18   committees     at    the   time    of   the    2019    Annual    Meeting    and    Proxy:
19

20                         [this space intentionally left blank]
21

22

23

24

25

26
             22See John Streur, “More engagement needed to get companies to address racial
     inequality risks and issues,” Calvert Research and Management, June 19, 2020, available
27   at         https://www.calvert.com/impact.php?post=more‐engagement‐needed‐to‐get‐
     companies‐to‐address‐racial‐inequality‐risks‐and‐issues‐&sku=35910, last visited June
28   29, 2020.

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 1   Director                    Audit & Risk Oversight Committee(1)(2) Compensation & Governance Committee(3)
     Marc L. Andreessen                           *
 2   Erskine B. Bowles(4)                         *
     Kenneth I. Chenault                          *
 3
     Susan D. Desmond-Hellmann                                                           *
 4   Reed Hastings(4)                                                                    +
     Sheryl K. Sandberg
 5   Peter A. Thiel                                                                      *
     Jeffrey D. Zients                            +
 6
     Mark Zuckerberg
 7
     *Committee member
 8
     +Committee chair
 9
              91.    The following chart reflects the Director Defendants’ roles on the
10
     committees at the time of the 2020 Annual Meeting and Proxy:
11

12                           Audit & Risk Oversight            Compensation, Nominating & Governance
     Director                     Committee(1)                             Committee(2)(3)
13   Peggy Alford                      *
     Marc L. Andreessen                *                                           *
14
     Kenneth I.                        *
15   Chenault(4)
     Andrew W. Houston                                                             *
16   Nancy Killefer
     Robert M. Kimmitt
17
     Sheryl K. Sandberg
18   Peter A. Thiel                                                               +
     Tracey T. Travis                  *
19   Jeffrey D. Zients(4)              +
     Mark Zuckerberg
20

21
     (1) In 2019, Erskine B. Bowles also served on Facebook’s audit & risk oversight committee
22   until May 2019. Tracey T. Travis and Peggy Alford were appointed to the audit & risk
     oversight committee in March 2020 and April 2020, respectively. Following the Annual
23   Meeting, Ms. Travis served as chair of the audit & risk oversight committee.
24
     (2) In October 2019, Facebook’s board of directors amended the charter of the compensation
25   & governance committee to incorporate certain additional nominating functions and re-named
     the committee as the compensation, nominating & governance committee. Facebook does not
26   distinguish between the prior and current committee names and referred to the compensation,
     nominating & governance committee throughout the proxy statement.
27
28

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 1   (3) In 2019, the chair of Facebook’s compensation, nominating & governance committee
     was Reed Hastings from January until May, Susan D. Desmond-Hellmann from May until
 2   October, and Peter A. Thiel from October through the end of 2019. Andrew W. Houston was
     appointed to the compensation, nominating & governance committee in April 2020.
 3
     (4) Chenault and Zients were not nominees for election at the Annual Meeting and their
 4   terms as directors ended at the Annual Meeting.
 5
            92.   The duties of the Audit & Risk Oversight Committee were described by the
 6
     Company in the 2019 Proxy as follows:
 7

 8                Audit & Risk Oversight Committee

 9         As more fully described in its charter, our audit & risk oversight committee
           is directly responsible for, among other things:
10
           •      selecting the independent registered public accounting firm to audit
11         our financial statements;
12         •     ensuring the independence of the independent registered public
           accounting firm;
13
           •       discussing the scope and results of the audit with the independent
14         registered public accounting firm, and reviewing, with management and
           that firm, our interim and year‐end operating results;
15
           •     developing procedures to enable submission of anonymous
16         concerns about accounting or auditing matters;
17         •      considering the adequacy of our internal accounting controls and
           audit procedures;
18
           •     reviewing related party transactions;
19         •     reviewing our program for promoting and monitoring compliance
           with applicable legal and regulatory requirements;
20
           •      overseeing our major risk exposures and the steps management has
21         taken to monitor and control such exposures, and assisting our board of
           directors in overseeing the risk management of our company;
22
           •      pre‐approving all audit and non‐audit services to be performed by
23         the independent registered public accounting firm; and
24         •      overseeing our internal audit function.
25
            93.   As the Company’s 2019 Proxy admitted, the Board itself, through its
26
     committees, is directly responsible for risk management:
27
28

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 1          Board Role in Risk Oversight

 2         Our board of directors as a whole has responsibility for overseeing our risk
           management and believes that a thorough and strategic approach to risk
 3         oversight is critical. The board of directors exercises this oversight responsibility
           directly and through its committees. The oversight responsibility of the board of
 4         directors and its committees is informed by regular reports from our management
           team, including senior personnel that lead a variety of functions across the
 5         business, and from our internal audit department, as well as input from external
           advisors, as appropriate. These reports are designed to provide timely
 6         visibility to the board of directors and its committees about the
           identification and assessment of key risks, our risk mitigation strategies,
 7         and ongoing developments.

 8
     IV.   Defendants Cause Facebook to File Materially Misleading Proxy Statements
 9
           A. The 2019 & 2020 Proxy Statements
10
            94.   Defendants violated Section 14(a) of the Exchange Act and SEC Rule 14a‐9
11
     by causing Facebook to issue the 2019 and 2020 Proxy Statements.
12
            95.   The Exchange Act requires publicly traded companies to disclose to
13
     shareholders “material information,” the kind of information that an investor would
14
     want to know to protect their investment.
15
            96.   On April 12, 2019, Defendants caused Facebook to file the 2019 Proxy in
16
     connection with the 2019 annual stockholders meeting. The 2019 Proxy was reviewed
17
     and approved by Defendants Zuckerberg, Sandberg, Andreessen, Bowles, Desmond‐
18
     Hellman, Hastings, Thiel, and Zients.
19
            97.   On April 10, 2020, Defendants caused Facebook to file the 2020 Proxy in
20
     connection with the 2020 annual stockholders meeting. The 2020 Proxy was reviewed
21
     and approved by Defendants Zuckerberg, Sandberg, Andreessen, Houston, Kimmitt,
22
     Killefer, Travis, Thiel, and Zients.
23
            98.   Notwithstanding their knowledge about the Company’s failure to promote
24
     and achieve diversity and curtail discriminatory pay practices, the Director Defendants
25
     have caused the Company to consistently make false statements about the Company’s
26
     commitment to diversity and the promotion of Blacks and other minority employees to
27
     positions of management and power.
28

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 1          99.    The 2019 Proxy admitted that Zuckerberg controls Facebook:
 2         Controlled Company Status
 3         Because Mr. Zuckerberg controls a majority of our outstanding voting
           power, we are a ʺcontrolled companyʺ under the corporate governance
 4         rules of The Nasdaq Stock Market LLC (Nasdaq).
 5
            100.   In the 2019 Proxy, despite the concession that Zuckerberg completely
 6
     controls Facebook, the Directors represented that the Board actively seeks diversity
 7
     among its members:
 8
           Facebook is committed to a policy of inclusiveness and to pursuing
 9         diversity in terms of background and perspective. As such, when evaluating
           candidates for nomination as new directors, it is the policy of our board of
10         directors to consider candidates with diverse backgrounds in terms of
           knowledge, experience, skills, and other characteristics, and to ensure that
11         the initial list of candidates from which new director nominees are chosen
           by the board includes candidates with a diversity of race, ethnicity, and
12         gender. In evaluating potential candidates for nomination, our board of
           directors considers the foregoing in light of the specific needs of the board
13         of directors at that time and also considers advice and recommendations
           from our compensation & governance committee and Mr. Zuckerberg.
14
            101. The Proxy also stated:
15
           Board Performance and Composition
16
           Our board of directors and its committees conduct an annual self‐
17         assessment of the performance of the board of directors, each committee,
           and each director. Our compensation & governance committee, which
18         includes our Lead Independent Director, oversees the self‐assessment
           process, and the results are reported to the board of directors. Our board of
19         directors also periodically reviews its composition to ensure that it
           appropriately reflects the knowledge, experience, skills, diversity, and
20         other characteristics required to fulfill its duties.

21         Our board of directors believes that its composition appropriately reflects
           the knowledge, experience, skills, diversity, and other characteristics
22         required to fulfill its duties.
23          102. These statements were false and misleading. In reality, regardless of
24   whether the Company’s Compensation and Governance Committee (comprised of
25   Defendants Thiel, Hastings, and Desmond‐Hellmann in 2019 and Thiel, Andreessen,
26   and Houston in 2020) ever made any efforts to recruit any Black individuals and other
27   minorities to the Board, only one Black individual currently serves on the Board and
28   Kenneth Chenault resigned from the Board because Zuckerberg would not listen to his

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 1   recommendations. Actions speak louder than words. In fact, the Board has never in
 2   good faith actively sought minority candidates and/or has only wanted minorities to be
 3   seen not heard. The phrase “committed to a policy of inclusiveness” implies that in fact
 4   active, good faith efforts have been made to include Blacks and minorities and to solicit
 5   and accept their advice. Instead of doing so, Facebook has just attempted to create the
 6   false impression that it is “committed” to doing so. This is the very definition of a
 7   misleading statement.
 8          103. The 2019 Proxy also stated that Facebook takes steps to ensure diversity in
 9   its workforce:
10         Diversity & Inclusion
           We are committed to building a workforce that is as diverse as the
11         communities we serve. We support an open culture and encourage our
           workforce to bring their authentic selves to work.
12
           We publish our global gender diversity and U.S. ethnic diversity workforce
13         data annually. Our diversity report for 2018 is available at
           https://www.facebook.com/careers/diversity‐report. To support our goals
14         of diversifying our workforce, we globally rolled out our Diverse Slate
           Approach, which sets the expectation that hiring managers will consider
15         candidates from underrepresented backgrounds when interviewing for an
           open position. We have seen steady increases in hiring rates for
16         underrepresented people since we started testing this approach in 2015. We
           also continue to expand our recruiting team and develop internship
17         programs for women and minorities. Over 500 students have graduated
           from Facebook University, our training program for college freshmen from
18         underrepresented groups with an interest in STEM/CS. Many have
           returned to work at Facebook.
19
           We believe retention, people development, and inclusion are just as crucial
20         as recruiting. This is why we invest in our thriving Facebook Resource
           Groups and our annual Community events such as Womenʹs Community
21         Summit, Black Community Summit, Latin Community Summit, and Pride
           Community Summit. These all help build community and support
22         professional development. They are designed to empower, inspire, and
           provide resources to help our people grow professionally. We encourage
23         all employees to take our ʺManaging Unconscious Biasʺ training to help
           reduce the effects of bias in the workplace and to help employees better
24         understand diverse perspectives.
25          104. While Facebook states that it is committed to building a diverse workforce,
26   the fact remains that there are no Blacks or other minorities among its senior executives.
27          105. Elsewhere in the 2019 Proxy Statement, a shareholder advanced the
28   following proposal for the consideration of fellow shareholders:

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 1         Resolved, that the shareholders of the Facebook, Inc. (the ʺCompanyʺ)
           request the Board adopt a policy to disclose to shareholders the following:
 2
           1. A description of the specific minimum qualifications that the Boardʹs
 3         nominating committee believes must be met by a nominee to be on the
           board of directors; and
 4
           2. Each nomineeʹs skills, ideological perspectives, and experience presented
 5         in a chart or matrix form.
 6         The disclosure shall be presented to the shareholders through the annual
           proxy statement and the Companyʹs website within six (6) months of the
 7         date of the annual meeting and updated on an annual basis.
 8         Supporting Statement
           We believe that boards that incorporate diverse perspectives can think
 9         more critically and oversee corporate managers more effectively. By
           providing a meaningful disclosure about potential Board members,
10         shareholders will be better able to judge how well‐suited individual board
           nominees are for the Company and whether their listed skills, experience
11         and attributes are appropriate in light of the Companyʹs overall business
           strategy. . .
12
           We believe a diverse board is a good indicator of sound corporate
13         governance and a well‐functioning board. Diversity in board composition
           is best achieved through highly qualified candidates with a wide range of
14         skills, experience, beliefs, and board independence from management.
           We are requesting comprehensive disclosures about board composition
15         and what qualifications the Company seeks for its Board, therefore we urge
           shareholders to vote FOR this proposal.
16

17
            106. The Director Defendants opposed this resolution. In order to convince
18
     shareholders to vote against the resolution, the Director Defendants caused the
19
     following false statement to be included in the Proxy:
20
           FACEBOOK OPPOSING STATEMENT
21
           We believe that implementing the proposal is unnecessary because our
22         current disclosures effectively describe our board membership criteria and
           the experiences, qualifications, attributes, or skills that led our board of
23         directors to recommend each of our current nominees for director.

24         In 2018, we updated our corporate governance guidelines, which are
           available on our website at investor.fb.com, regarding our board
25         membership criteria and the role of diversity on our board of directors. The
           policy of our board of directors is to encourage the selection of directors
26         who will contribute to our success and our mission to give people the power
           to build community and bring the world closer together.
27
28

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           Facebook is committed to a policy of inclusiveness and to pursuing
 1         diversity in terms of background and perspective. As such, when evaluating
           candidates for nomination as new directors, it is the policy of our board of
 2         directors to consider candidates with diverse backgrounds in terms of
           knowledge, experience, skills, and other characteristics, and to ensure that
 3         the initial list of candidates from which new director nominees are chosen
           includes candidates with a diversity of race, ethnicity, and gender. Our
 4         board of directors also periodically reviews its composition to ensure that
           it appropriately reflects the knowledge, experience, skills, diversity, and
 5         other characteristics required to fulfill its duties.
 6
            107. The 2019 Proxy also contained a shareholder proposal to require an
 7
     independent Board Chairman which stated:
 8
           Resolved: Shareholders request the Board of Directors adopt as policy, and
 9         amend the bylaws as necessary, to require henceforth that the Chair of the
           Board of Directors, whenever possible, be an independent member of the
10         Board. This independence policy shall apply prospectively so as not to
           violate any contractual obligations. If the Board determines that a Chair
11         who was independent when selected is no longer independent, the Board
           shall select a new Chair who satisfies the requirements of the policy within
12         a reasonable amount of time. Compliance with this policy is waived if no
           independent director is available and willing to serve as Chair.
13
           Supporting Statement:
14         Facebook CEO Mark Zuckerberg has been Board Chair since 2012. His dual‐
           class shareholdings give him approximately 60% of Facebookʹs voting
15         shares, leaving the board, even with a lead independent director, with only
           a limited ability to check Mr. Zuckerbergʹs power. We believe this weakens
16         Facebookʹs governance and oversight of management. Selecting an
           independent Chair would free the CEO to focus on managing the Company
17         and enable the Chairperson to focus on oversight and strategic guidance.
           The Council of Institutional Investors argues:
18
           Having an independent chair helps the board carry out its primary duty —
19         to monitor the management of the company on behalf of its shareowners.
           A CEO who also serves as chair can exert excessive influence on the board
20         and its agenda, weakening the boardʹs oversight of management.
           Separating the chair and CEO positions reduces this conflict, and an
21         independent chair provides the clearest separation of power between the
           CEO and the rest of the board.
22
           Facebook has resisted recent shareholder requests to separate these roles.
23         In 2017, according to our calculations, a similar proposal received the
           support of 51% of the votes cast when excluding the shares of 13 executives
24         and board members. However, the board has not acted on this important
           signal from its non‐insider shareholders.
25
           Google, Microsoft, Apple, Facebook, and Twitter have separate CEO and
26         chairperson roles. More broadly, 59% of the S&P 1500 separated these roles
           as of April 2018.
27
28

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           We believe this lack of independent board Chair and oversight has
 1         contributed to Facebook missing, or mishandling, a number of severe
           controversies, increasing risk exposure and costs to shareholders. Examples
 2         from past years include:
 3      • Russian meddling in U.S. elections
        • Sharing personal data of 87 million users with Cambridge Analytica
 4      • Data sharing with device manufacturers, including Huawei that is flagged
          by U.S. Intelligence as a national security threat
 5      • Proliferating fake news
        • Propagating violence in Myanmar, India, and South Sudan
 6      • Depression and other mental health issues, including stress and addiction
        • Allowing advertisers to exclude black, Hispanic, and other ʺethnic
 7        affinitiesʺ from seeing ads.
 8         In apologies, Mr. Zuckerberg has stated, ʺWe didnʹt take a broad enough
           view of our responsibility.ʺ This broader view is what an independent
 9         Board Chair would provide, which we believe would benefit the company,
           its shareholders, and its global community of users.
10
            108. The Director Defendants caused Facebook to oppose the proposal, stating:
11
           FACEBOOK OPPOSING STATEMENT
12
           We believe that our current board structure is effective in supporting strong
13         board leadership. Implementing the proposal is unnecessary because the
           leadership structure of our board of directors already provides for
14         independent leadership and oversight of management.
15          109. These statements were false and misleading because the Director
16   Defendants did not genuinely believe them. Facebook at all times has lacked an
17   independent Chairman, resulting in great harm to Facebook as the Company, controlled
18   by Zuckerberg, engaged in unlawful conduct with respect to discriminatory
19   advertising, hiring, and pay practice. The Individual Defendants actually believed that
20   an independent chairman would help protect Facebook’s interests, but agreed to
21   include this opposition statement in the Proxy because it was what Facebook wanted
22   and demanded.      A statement of support from the Directors would have likely
23   substantially altered the votes at the 2019 Annual Meeting and been material to the
24   voting decisions of shareholders.
25          110. The 2019 Proxy also contained a Workforce Diversity shareholder proposal
26   which asked Facebook to prepare a diversity report:
27
28

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 1         WHEREAS:
 2         In 2016, Facebook CEO Mark Zuckerberg wrote, ʺWe care deeply about
           diversity. Thatʹs easy to say when it means standing up for ideas you agree
 3         with. Itʹs a lot harder when it means standing up for the rights of people
           with different viewpoints to say what they care about. Thatʹs even more
 4         important.ʺ
 5
            111. Facebook opposed the proposal and stated:
 6
           FACEBOOK OPPOSING STATEMENT
 7
           Diversity of ideas is core to our business at Facebook. It enables us to build
 8         better products, make better decisions, and better serve the people who use
           our services. We have a globally distributed workforce of more than 35,000
 9         people, and itʹs in our interest as a business to ensure people feel safe, heard,
           and respected. We support an open culture and encourage our diverse
10         workforce to bring their authentic selves to work.

11         We offer trainings to help employees better understand diverse
           perspectives. In 2015, we publicly rolled out our comprehensive ʺmanaging
12         bias trainingʺ (https://managingbias.fb.com). We have since added several
           new internal programs, including Managing Inclusion and Be The Ally.
13         Managing Inclusion trains managers to understand the issues that affect
           underrepresented communities and actively solicit input from people who
14         may feel excluded. Be The Ally gives everyone at Facebook the common
           language, tools, and space to identify when someone may be experiencing
15         bias and to stand up in support of them.

16          112. Facebook’s 2019 Proxy contained representations regarding executive

17   compensation. In 2019, the Compensation & Governance Committee was comprised of

18   Defendants Desmond‐Hellman, Hastings (Chair), and Thiel, who issued a report which

19   was included in the Proxy concerning executive compensation, and who stated in the

20   Proxy that:

21         Our compensation & governance committee has reviewed and discussed
           the Compensation Discussion and Analysis required by Item 402(b) of
22         Regulation S‐K with management and based on such review and
           discussions, the compensation & governance committee recommended to
23         our board of directors that the Compensation Discussion and Analysis be
           included in this proxy statement.
24
           THE COMPENSATION & GOVERNANCE COMMITTEE
25         Susan D. Desmond‐Hellmann
           Reed Hastings (Chair)
26         Peter A. Thiel

27
28

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 1             113. The 2019 Proxy also contained a “Proposal No. 2: ADVISORY VOTE TO
 2   APPROVE THE COMPENSATION OF OUR NAMED EXECUTIVE OFFICERS” which
 3   stated:
 4         In accordance with the rules of the Securities and Exchange Commission
           (SEC), we are providing stockholders with a non‐binding advisory vote on
 5         the compensation program for our named executive officers. This non‐
           binding advisory vote is commonly referred to as a ʺsay on payʺ vote. The
 6         non‐binding advisory vote on the compensation program for our named
           executive officers, as disclosed in this proxy statement, will be determined
 7         by the vote of a majority of the voting power of the shares present or
           represented at the 2019 Annual Meeting of Stockholders and voting
 8         affirmatively or negatively on the proposal.
 9         Stockholders are urged to read the ʺExecutive Compensationʺ section of
           this proxy statement, which discusses how our executive compensation
10         policies and practices implement our compensation philosophy and
           contains tabular information and narrative discussion about the
11         compensation of our named executive officers. Our compensation &
           governance committee and our board of directors believe that these policies
12         and practices are effective in implementing our compensation philosophy
           and in achieving our goals. Accordingly, our board of directors is asking
13         the stockholders to approve the following resolution at the Annual
           Meeting:
14
           RESOLVED, that the stockholders approve, on an advisory basis, the
15         compensation awarded to Facebookʹs named executive officers, as
           disclosed under SEC rules, including the Compensation Discussion and
16         Analysis, the compensation tables, and related narrative disclosures
           included in this proxy statement.
17
           As an advisory vote, this proposal is not binding. However, our board of
18         directors and compensation & governance committee, which is responsible
           for designing and administering our executive compensation program,
19         value the opinions expressed by stockholders in their vote on this proposal,
           and will consider the outcome of the vote when making future
20         compensation decisions for our named executive officers.
21
               114. As the proposal stated, “Stockholders are urged to read the ‘Executive
22
     Compensation’ section of this proxy statement” before voting on the proposal. The
23
     Executive Compensation section of the Proxy, in turn, provided the following
24
     information regarding executive compensation at Facebook:
25
     ///
26
     ///
27
28

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 1         Role of Our Compensation & Governance Committee. The compensation &
           governance committee is responsible for overseeing all aspects of our executive
 2         compensation program, including executive salaries, payouts under our
           bonus plan, the size and structure of equity awards, and any executive
 3         perquisites. The compensation& governance committee is solely
           responsible for determining the compensation of our CEO and reviews and
 4         approves the compensation of our other executive officers.
 5          115. During 2019 and 2020, the members of Facebook’s Compensation &
 6   Governance Committee were Thiel, Hastings, and Desmond‐Hellmann in 2019, and
 7   Thiel, Houston and Andreessen in 2020.
 8          116. The 2019 Proxy further provided the following information in the
 9   “Executive Compensation” section:
10         Cash Bonuses. Our 2018 Bonus Plan (Bonus Plan) provides variable cash
           incentives, payable semi‐annually, that are designed to motivate our
11         executive officers to focus on company priorities and to reward them for
           individual results and achievements. In 2018, the individual target bonus
12         percentage for each named executive officer was unchanged from 2017 at
           75% of such executiveʹs base salary. After the 2018 base salary increases
13         noted above, target total cash compensation (base salary plus target bonus)
           for our named executive officers (other than our CEO) was below the 25th
14         percentile of the target total cash compensation of executives holding
           similar positions at the companies in our Peer Group. All of our named
15         executive officers, except our CEO, participated in the Bonus Plan in 2018.
16         For 2018, there were two six‐month performance periods under our Bonus
           Plan, which we refer to as First Half 2018 and Second Half 2018. For each
17         performance period in 2018, the compensation & governance committee
           approved a set of company priorities in order to focus our executive officers
18         on key areas of performance for the period in question. The First Half 2018
           and Second Half 2018 company priorities reflect operational and non‐
19         operational objectives established by our compensation & governance
           committee, in consultation with our CEO and CFO. The company priorities
20         did not have specific target levels associated with them for purposes of
           determining performance under the Bonus Plan, and our compensation &
21         governance committee had full discretion to determine the level of bonus
           payout for each performance period.
22
           2018 Bonus Plan Payouts. We calculate Bonus Plan payouts to each
23         participant using the following formula:
24         Base Eligible Earnings ($) x Individual Target Bonus Percentage (%) x
           Individual Performance Percentage (%) x Company Performance
25         Percentage (%) = Individual Bonus Payout ($)
26         2018 Priorities and Company Performance Percentage. Our First Half 2018
           and Second Half 2018 company priorities as approved by the compensation
27         & governance committee were as follows: grow our user base across all our
           products; increase sharing, engagement, and meaningful interactions;
28         continue to achieve revenue growth and significant savings from efficiency;

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           improve product quality; improve security for our community; improve
 1         our brand; and make progress toward our long‐term investments. None of
           these priorities were assigned any specific weighting or dollar amount of
 2         the target bonus. The compensation & governance committee exercised its
           discretion in determining the company performance percentage for our
 3         First Half 2018 and Second Half 2018 performance after taking into account
           our delivery of results in the areas identified by the company priorities, as
 4         well as our overall business, engineering, and product development
           achievements.
 5
           The First Half 2018 company performance percentage approved by the
 6         compensation & governance committee was 90%. In making this
           determination, the compensation & governance committee focused on our
 7         performance across all of the areas identified by the company priorities,
           with a particular focus on user growth and engagement, revenue growth,
 8         and brand in the First Half 2018, and also noted our significant investments
           in safety and security for our community.
 9
           The Second Half 2018 company performance percentage approved by the
10         compensation & governance committee was 100%. In making this
           determination, the compensation & governance committee focused on our
11         performance across all of the areas identified by the company priorities,
           with a particular focus on revenue, user growth and engagement, and our
12         progress with respect to improving security for our community in the
           Second Half 2018.
13
           Individual Performance Percentage. The individual performance
14         percentage is based upon each executive officerʹs individual performance
           assessment for the performance period under consideration. Consistent
15         with our pay‐for‐performance philosophy, a higher performance
           assessment results in a higher individual performance percentage (and
16         vice‐versa) such that it is possible for an executive with a low assessment to
           get less than their target bonus payout, or no bonus payout whatsoever. In
17         2018, potential individual performance percentages under our Bonus Plan
           were 0%, 85%, 100%, 125%, 200%, or 300%. An executive officer meeting
18         our expected high level of performance expectations would receive an
           individual performance percentage of 100%.
19
           Individual performance assessments for each named executive officer were
20         determined in the discretion of the compensation & governance committee
           following discussions with our CEO and our COO (except in the case of our
21         COO when her individual performance assessment was being determined).
           The performance assessment determinations were based on an overall
22         subjective assessment of each executive officerʹs performance and no single
           factor was determinative in setting bonus payout levels, nor was the impact
23         of any individual factor on the bonus quantifiable. We operate in a rapidly
           evolving and highly competitive industry and we set a high bar for
24         performance expectations for each one of our named executive officers. The
           compensation & governance committee evaluates our named executive
25         officers based on their overall performance, impact, and results, as well as
           their demonstration of strong leadership, long‐term vision, effective
26         execution, and management capabilities. First Half 2018 and Second Half
           2018 payout levels and achievements and considerations for each named
27         executive officer were as follows:
28

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 1
             Mark Zuckerberg. Mr. Zuckerberg did not participate in the Bonus Plan in
 2           2018. Although Mr. Zuckerberg did not participate in the Bonus Plan, the
             compensation & governance committee separately assessed his
 3           performance as our CEO. The compensation & governance committee
             shared its assessment with the independent members of our board of
 4           directors in executive session, and our Lead Independent Director shared
             this assessment with Mr. Zuckerberg.
 5
             Sheryl K. Sandberg. Ms. Sandberg received $239,872 for the First Half 2018
 6           bonus based substantially on the overall performance of the company in the
             first half of 2018. Ms. Sandberg received $398,438 for the Second Half 2018
 7           bonus, which reflected the continued strong growth in business
             performance and revenue growth, her leadership in response to safety and
 8           security concerns on our platform, and her contributions to recruiting key
             leadership talent.
 9
             David M. Wehner. Mr. Wehner received $214,494 for the First Half 2018
10           bonus based substantially on the overall performance of the company in the
             first half of 2018. Mr. Wehner received $285,000 for the Second Half 2018
11           bonus, which reflected the delivery of a comprehensive financial plan and
             budget for fiscal year 2019, continued building of strong relationships with
12           our investors, and the continued strong leadership of our finance,
             enterprise engineering, real estate, and facilities organizations.
13
             Christopher K. Cox. Mr. Cox received $214,494 for the First Half 2018 bonus
14           based substantially on the overall performance of the company in the first
             half of 2018. Mr. Cox received $285,000 for the Second Half 2018 bonus,
15           which reflected his continued strong leadership of the product
             organization, his strategy for our family of apps, and his contributions to
16           developing key leadership talent.
17           Mike Schroepfer. Mr. Schroepfer received $214,494 for the First Half 2018
             bonus based substantially on the overall performance of the company in the
18           first half of 2018. Mr. Schroepfer received $356,250 for the Second Half 2018
             bonus, which reflected his overall leadership of the engineering team,
19           significant gains in the development of technology to assist with the
             proactive detection of content that violates our policies, and continued
20           improvement in computing efficiency.
21           The following table summarizes the calculations that were used in
             determining the cash bonus paid to each of our named executive officers
22           for 2018:
23
                                                    Individual
24                                                    Bonus         Individual    Company
       Named                                        Percentage     Performance   Performance   Individual
25    Executive   Performance   Base Eligible     (Target Bonus)    Percentage   Percentage      Bonus
       Officer       Period     Earnings ($)(1)        (%)             (%)           (%)       Payout ($)
26   Sheryl K.    First Half           418,077         75              85            90           239,872
     Sandberg     2018
27                Second Half          425,000         75             125           100           398,438
                  2018
28                Total                843,077                                                    638,310


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     David M.       First Half             373,846            75                85             90              214,494
 1   Wehner         2018
                    Second Half            380,000            75                100           100              285,000
 2                  2018
                    Total                  753,846                                                             499,494
 3
     Christopher    First Half             373,846            75                85             90              214,494
     K. Cox         2018
 4
                    Second Half            380,000            75                100           100              285,000
                    2018
 5
                    Total                  753,846                                                             499,494
 6   Mike           First Half             373,846            75                85             90              214,494
     Schroepfer     2018
 7                  Second Half            380,000            75                125           100              356,250
                    2018
 8                  Total                  753,846                                                             570,744

 9
                 117. The Proxy also contained the following chart reflecting all compensation
10
     paid to Facebook’s executive officers:
11

12              The following table presents summary information regarding the total
                compensation awarded to, earned by, or paid to each of the named executive
13              officers for services rendered to us for the years ended December 31, 2018, 2017,
14              and 2016.

15   Name and Principal          Fiscal   Salary         Bonus         Stock Awards      All Other
     Position                    Year      ($)(1)         ($)(2)           ($)(3)     Compensation ($)       Total ($)
16   Mark Zuckerberg             2018               1              —             —          22,554,542(4) 22,554,543
     CEO                         2017               1              —             —           9,101,965(4)    9,101,966
17
                                 2016           1             —                  —           6,015,431(4) 6,015,432
18   Sheryl K. Sandberg          2018     843,077        638,310         18,423,523          3,823,508(5) 23,728,418

19   COO                         2017     795,769        640,378         21,072,431          2,687,643(5) 25,196,221
                                 2016     738,077       1,293,635        19,908,426          2,609,319(5) 24,549,457
20
     David M. Wehner             2018     753,846         499,494        18,423,523               9,250 19,686,113
21   CFO                         2017     711,539         633,317        21,072,431               9,000 22,426,287
                                 2016     662,692        940,421         14,931,596                 9,566   16,544,275
22
     Christopher K. Cox  (6)     2018     753,846        499,494         18,423,523                 9,250   19,686,113
23   Former CPO                  2017     711,539        567,404         21,072,431                 9,000   22,360,374
                                 2016     658,846        933,209         14,931,596                 9,538   16,533,189
24   Mike Schroepfer             2018     753,846        570,744         18,423,523                 9,250   19,757,363
25   CTO                         2017     711,539        633,317         21,072,431                 9,000 22,426,287

26                               2016     658,846        859,356         14,931,596                 9,377 16,459,175

27
28

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 1          118. The information in the Proxy about executive compensation was false and
 2   misleading because it failed to disclose that the executives’ achievement of performance
 3   goals was based in large part on the Company’s unlawful and discriminatory
 4   advertising, hiring and pay practices. The compensation plans gave Defendants a
 5   strong incentive to continue concealing the true nature of the Companyʹs discriminatory
 6   advertising practices in order to boost the Companyʹs reported financial performance
 7   and achieve the performance measures such as earnings, financial return ratios, net
 8   income, and stock price, for which they could be awarded bonuses. Indeed, almost all
 9   Facebook’s revenues come from advertising.           But for Facebook’s facilitation of
10   discriminatory advertising by its customers, it would not have earned as high of
11   revenues and profits, and thus the Company’s executives would not have earned as
12   much compensation. The Proxy was materially misleading by failing to disclose the
13   fact that the Company’s advertising revenues were enhanced by the unlawful
14   discriminatory advertising practices alleged herein.
15          119. The false statements had their desired effect.        At Facebook’s annual
16   meeting on May 30, 2019, all the incumbent white directors were re‐elected. No
17   competing Black or minority candidates made it on the ballot. The advisory executive
18   compensation proposal passed; the shareholder proposals were defeated, including the
19   proposal to replace Zuckerberg as Chairman with an independent Chairman. E&Y was
20   re‐appointed as the Company’s auditor.
21          120.   Facebook published the results of the voting at its annual meeting in a
22   Form 8‐K filed on June 3, 2019.
23          121. The 2019 Proxy was materially misleading because it failed to disclose:
24                 (a)   That the Company’s revenues, which were based almost entirely
25         from advertising, were supported by unlawful advertising practices that
26         discriminated against Blacks and minorities in housing and other areas;
27                 (b)   That the statement with respect to Director nominees “that the initial
28         list of candidates from which new director nominees are chosen by the board

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 1         includes candidates with a diversity of race, ethnicity, and gender” was
 2         misleading because the Company has not made substantial efforts to diversify its
 3         Board and, even when minorities were put on the Board, Zuckerberg would not
 4         listen to such Board members, thus making it impossible to truly diversify the
 5         Board.
 6                  (c)   That the Company’s policies with respect to diversity and anti‐
 7         discrimination were not effective and were not being complied with;
 8                  (d)   That the Board’s Governance Committee did not take diversity into
 9         consideration when evaluating potential Board candidates, and instead simply
10         claimed to do so in order to create a false appearance of compliance with the law;
11                  (e)   That the Director Defendants did not genuinely believe the
12         statement in the Proxy that it was not in the Company’s best interests, or
13         necessary, to have an independent Chairman since the current governance
14         structure was working effectively; in fact, as demonstrated herein and below, the
15         Individual Defendants all knew that Facebook’s best interests were not being
16         adequately protected by Zuckerberg serving as Chairman, as amply
17         demonstrated by the consistent claims of discrimination at the Company and the
18         massive advertiser boycott;
19                  (f)   Defendants’ knowledge that the Company’s internal controls and
20         systems were inadequate and ineffective to protect minorities against
21         discrimination in hiring, promotion, and other critical terms of employment and
22         equal access, and that rampant unlawful discrimination exists at the Company;
23                  (g)   Defendants’ knowledge, learned from Zuckerberg’s testimony
24         before Congress and public news reports, that discrimination in advertising and
25         other problems were very serious and needed to be corrected, and that the
26         Company had pledged to correct the problems but then failed to do so;
27                  (h)   That Defendants failed to maintain appropriate policies, internal
28         controls, and procedures to ensure that the Company’s stated policies with respect

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 1         to diversity and anti‐discrimination were being complied with;
 2                (i)   That Defendants failed to appropriately address the Company’s lack
 3         of diversity and discriminatory practices towards minorities in hiring and
 4         promotion and misleading claims regarding the same; and
 5                (j)   That, as a result, the Company was at substantial risk of being
 6         boycotted by its advertising clients, being subject to large monetary fines,
 7         penalties, and adverse due to the fact that the Company was not in compliance
 8         with federal and state laws regarding hiring, promotion, advertising, and pay
 9         practices.
10          122. The 2019 Proxy harmed the Company by interfering with the proper
11   governance on its behalf that requires stockholders’ informed voting of directors. As a
12   result of the false or misleading statements in the 2019 Proxy, stockholders voted to re‐
13   elect all of the Defendants to the Board, voted in favor of the executive compensation
14   proposal, and voted against requiring Facebook to have an independent Chairman.
15          123. The statements in the 2019 Proxy conveyed that the Company’s corporate
16   governance structure provided effective oversight of management and Board
17   accountability. In reality, the Company’s corporate governance structure and defective
18   internal controls allowed senior executives and the Board to sidestep real accountability
19   and instead continue perpetuating the discriminatory advertising practices that led to a
20   massive boycott of the Company’s advertising services by clients and led to further
21   employee discontent over the Company’s discriminatory pay practices and lack of
22   diversity on both the Board and management.
23          124. The 2019 Proxy, which contained materially misleading statements and
24   thus deprived shareholders of adequate information necessary to make a reasonably
25   informed decision, caused the Company’s stockholders to re‐elect all of the Defendants
26   to the Board while they were breaching their fiduciary duties to the Company and
27   deliberately concealing material information concerning the Company’s discrimination
28

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 1   against Black individuals and other minorities and its effects on the Company’s business
 2   and reputation.
 3          125. The Company and its shareholders were harmed by the approval of
 4   incentive compensation awards to certain of the Individual Defendants who helped
 5   perpetrate the illegal discriminatory hiring, advertising, and compensation practices.
 6   Had shareholders known of the underlying misconduct at the Company, they would
 7   not have voted to keep the same Directors who were allowing the illegal practices to
 8   continue. Even if the alleged fraudulent discriminatory practices began before the
 9   Proxy Statements issued, they continued after the Proxy Statements were issued
10   because Board members elected by shareholders pursuant to the Proxy Statements
11   allowed the practice to continue.
12          126. 2020 PROXY — The statements above that the Director Defendants caused
13   the Company to make in the 2019 Proxy were substantially similar to statements they
14   had caused Facebook to include in the 2020 Proxy, which was filed by Facebook with
15   the SEC on April 10, 2020. The 2020 Proxy contained a shareholder proposal asking that
16   Facebook be required to have an independent Chairman that was substantially identical
17   to the same proposal in the 2019 Proxy.
18          127. The 2020 Proxy was approved by Director Defendants Zuckerberg,
19   Sandberg, Andreessen, Houston, Thiel, Killefer, Kimmitt, Travis and Zients.
20          128. For example, similar to the language in the 2019 Proxy, the 2020 Proxy
21   stated the following with respect to the fact that Facebook did not need to have an
22   independent Chairman of the Board since Mr. Zuckerberg and Defendant Kimmitt were
23   allegedly already providing effective oversight of management:
24                We believe that our current board structure is effective in supporting
           strong board leadership. The board of directors does not require the
25         separation of the offices of Chair and CEO. However, when the positions
           of Chair and CEO are held by the same person, as is currently the case with
26         Mr. Zuckerberg, our corporate governance guidelines provide that the
           independent directors shall designate a Lead Independent Director. Susan
27         D. Desmond‐Hellmann served as our Lead Independent Director from 2015
           to 2019, and our independent directors designated Ambassador Kimmitt to
28         serve as Lead Independent Director upon his appointment to our board of

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           directors in March 2020.
 1
                  As Chairman of our board of directors, Mr. Zuckerberg presides over
 2         meetings of the board of directors and may call special meetings of the
           board of directors. Mr. Zuckerberg brings valuable insight to our board of
 3         directors due to the perspective and experience he brings as our founder
           and CEO. As a result of his leadership since our inception, Mr. Zuckerberg
 4         has unparalleled knowledge of our business, products, and operations. As
           our largest and controlling stockholder, Mr. Zuckerberg is invested in our
 5         long‐term success.
 6                As our Lead Independent Director, Ambassador Kimmitt provides
           independent oversight and promotes effective communication between our
 7         board of directors and management, including Mr. Zuckerberg. Our Lead
           Independent Director is appointed annually to serve until his or her
 8         successor has been appointed and qualified, or until his or her earlier death,
           resignation, or removal, or such time as he or she is no longer an
 9         independent director.
10
              129. The 2020 Proxy also stated the following with respect to diversity on the
11
     Board:
12                The policy of our board of directors is to encourage the selection of
           directors who will contribute to Facebookʹs success and our mission to give
13         people the power to build community and bring the world closer together.
           Our compensation, nominating & governance committee is responsible for
14         identifying and evaluating candidates for membership on our board of
           directors, based on the criteria set forth in our corporate governance
15         guidelines, and has sole authority to recommend nominees to our board of
           directors. The compensation, nominating & governance committee
16         considers recommendations from other directors, stockholders,
           management, and others as it deems appropriate and uses the same criteria
17         for evaluating candidates regardless of the source of the recommendation.
           Our board of directors is responsible for nominating persons for election to
18         our board of directors upon the recommendation of our compensation,
           nominating & governance committee.
19
                  Facebook is committed to a policy of inclusiveness and to pursuing
20         diversity in terms of background and perspective. As such, when evaluating
           candidates for nomination as new directors, it is the policy of our
21         compensation, nominating & governance committee to consider candidates
           with diverse backgrounds in terms of knowledge, experience, skills, and
22         other characteristics, and to ensure that the initial list of candidates from
           which new director nominees are chosen by the board includes candidates
23         with a diversity of race, ethnicity, and gender. In evaluating potential
           candidates for nomination, our compensation, nominating & governance
24         committee considers the foregoing in light of the specific needs of the board
           of directors at that time. In addition, our compensation, nominating &
25         governance committee considers director tenure in connection with
           evaluating current directors for nomination for re‐election..
26
              130. The 2020 Proxy also stated the following with respect to Board diversity:
27
28

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                Our board of directors believes that its composition appropriately
 1         reflects the knowledge, experience, skills, diversity, and other
           characteristics required to fulfill its duties. The current director nominees
 2         have diverse backgrounds and perspectives that enable them to provide
           valuable guidance on both strategic and operational issues.
 3

 4          131. The 2020 Proxy claimed that Facebook was taking substantial steps to

 5   increase diversity, and had made “steady progress” in increasing the representation of

 6   women, but admitted that the Company had only made “some” progress towards

 7   increasing the number of Black and Hispanic people at the Company:

 8         Diversity & Inclusion

 9         Diversity and inclusion are core to everything we do at Facebook. We work
           to build a diverse and inclusive workplace where we can leverage our
10         collective cognitive diversity to build the best products and make the best
           decisions for the global community we serve. We have made progress, but
11         we still have more work to do.

12         We have made steady progress in increasing representation of women
           globally in technical, non‐technical, and leadership roles, and have made
13         some progress on increasing the numbers of Black and Hispanic people in
           non‐technical roles in the U.S. For example, since 2014, we have increased
14         the number of Black women at Facebook by a factor of 25 and the number
           of Black men by a factor of 10. We continue to focus on increasing the
15         number of underrepresented people in technical and leadership roles. We
           publish our global gender diversity and U.S. ethnic diversity workforce
16         data annually. Our Diversity Report for 2019 provides additional
           background about our journey and the progress we are making, and is
17         available at https://about.fb.com/news/2019/07/2019‐diversity‐report/.

18          132. The 2020 Proxy stated:

19         “We have an obligation to build a culture of inclusion where everyone can
           thrive.”
20
            133. The 2020 Proxy also contained a Shareholder Proposal No. 5 to require an
21
     independent Chairman. The Director Defendants, at Zuckerberg’s bidding, caused the
22
     following statement to be included in the 2020 Proxy in opposition to the proposal:
23
           We believe that our current board structure is effective in supporting strong
24         board leadership. Implementing the proposal is unnecessary because the
           leadership structure of our board of directors already provides for
25         independent leadership and oversight of management. Susan D. Desmond‐
           Hellmann served as our Lead Independent Director from 2015 to 2019, and
26         our independent directors recently designated Ambassador Kimmitt to
           serve as Lead Independent Director upon his appointment to our board of
27         directors in March 2020.

28

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 1          134. The 2020 Proxy also contained the following information about the pay
 2   disparity between the CEO and the median employee compensation:
 3         CEO Pay Ratio
 4         For the year ended December 31, 2019:
           • the median of the annual total compensation of all employees of our
 5         company (other than our CEO) was $247,883; and
 6         • the annual total compensation of our CEO was $23,415,973.
           Based on this information, for 2019, the ratio of the annual total
 7         compensation of our CEO to the median of the annual total compensation
           of all other employees was 94:1. We believe this ratio is a reasonable
 8         estimate calculated in a manner consistent with Item 402(u) of Regulation
           S‐K under the Exchange Act.
 9
           As permitted by SEC rules, to identify our median employee for 2019, we
10         selected total direct compensation as our consistently applied
           compensation measure, which we calculated as actual salary paid to our
11         employees for 2019 (including overtime for hourly employees), actual
           bonus or sales commission earned by our employees in 2019, and the value
12         of equity awards granted to our employees in 2019. Further, we used
           October 31, 2019 to determine our employee population and used the
13         consistently applied compensation measure as described above to
           determine our median employee. In determining this population, we
14         included all worldwide full‐time and part‐time employees other than our
           CEO. We did not include any contractors or workers employed through a
15         third‐party provider in our employee population. For employees paid in
           other than U.S. dollars, we converted their compensation to U.S. dollars
16         using the exchange rates used by us for various purposes in effect on
           October 31, 2019.
17
           Based on this approach, we selected the individual who represented the
18         median employee for 2019. We then calculated the annual total
           compensation for this individual using the same methodology we used for
19         our named executive officers in our 2019 Summary Compensation Table.
           Although we identified a new median employee for 2019, our calculation
20         methodology for 2019 was the same methodology used to calculate our
           2018 pay ratio.
21
            135. The 2020 Proxy also contained a proposal submitted by the Director
22
     Defendants asking shareholders to approve executive compensation at the Company,
23
     in support of which the Proxy contained the following information, in part, about such
24
     compensation:
25
                Elements of Executive Compensation
26              Our executive officer compensation packages generally include:
              • base salary;
27            • performance‐based cash incentives; and
              • equity‐based compensation in the form of RSUs.
28

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                 We believe that our compensation mix supports our objective of
 1               focusing on at‐risk compensation having significant financial upside
                 based on individual performance and our performance relative to
 2               company priorities. We expect to continue to emphasize equity
                 awards because of the direct link that equity compensation provides
 3               between stockholder interests and the interests of our executive
                 officers, thereby motivating our executive officers to focus on
 4               increasing our value over the long term.
 5          136. The Proxy further stated:
 6         2019 Bonus Plan Payouts. We calculate Bonus Plan payouts to each
           participant using the following formula:
 7
           Base Eligible Earnings ($) x Individual Target Bonus Percentage (%) x
 8         Individual Performance Percentage (%) x Company Performance
           Percentage (%) = Individual Bonus Payout ($)
 9
           2019 Priorities and Company Performance Percentage. Our First Half 2019
10         company priorities as approved by the compensation, nominating &
           governance committee were as follows:
11
           • continue making progress on the major social issues facing the Internet
12         and our company;
           • build new experiences that meaningfully improve peopleʹs lives today
13         and set the stage for even bigger improvements in the future;
           • keep building our business by supporting the millions of businesses that
14         rely on our services to grow and create jobs; and
           • communicate more transparently about what weʹre doing and the role
15         our services play in the world.
16         Our Second Half 2019 company priorities as approved by the
           compensation, nominating & governance committee were as follows:
17
           • continue making progress on the major social issues facing the Internet
18         and our company, including privacy, safety, and security;
           • build new experiences that meaningfully improve peopleʹs lives today
19         and set the stage for even bigger improvements in the future;
           • keep building our business by supporting the millions of businesses that
20         rely on our services to grow and create jobs; and
           • communicate more transparently about what weʹre doing and the role
21         our services play in the world.
22          137. Based on the supposed achievement of these goals by the executive officers,
23   the Proxy said the following bonuses were paid:
24          138. The following table summarizes the calculations that were used in
25   determining the cash bonus paid to each of our named executive officers for 2019:
26

27
28

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                                                        Individual
 1                                                        Bonus         Individual    Company
       Named                                            Percentage     Performance   Performance       Individual
 2    Executive       Performance   Base Eligible     (Target Bonus)    Percentage   Percentage          Bonus
       Officer           Period     Earnings ($)(1)        (%)             (%)           (%)           Payout ($)
 3   Sheryl K.        First Half           435,385         75              125           110              448,990
     Sandberg         2019
 4                    Second Half          440,000         75              125           110              453,750
                      2019
 5                    Total                875,385                                                        902,740
     David M.         First Half           390,385         75              125           110              402,584
 6   Wehner           2019
                      Second Half          395,000         75              125           110              407,344
 7                    2019
                      Total                785,385                                                        809,928
 8
     Mike             First Half           390,385         75              200           110              644,135
     Schroepfer       2019
 9
                      Second Half          395,000         75              200           110              651,750
                      2019
10
                      Total                785,385                                                       1,295,885
11   Jennifer G.      First Half            13,077         75              100           110                10,788
     Newstead         2019
12                    Second Half          340,000         75              100           110              280,500
                      2019
13                    Total                353,077                                                        291,288

14

15                 139. The Proxy also noted that “Most of our executive officersʹ target total direct

16    compensation is delivered through equity awards in the form of RSUs” and provided

17    the following information about RSU awards to the executive officers:
                                                                                      Vesting Start
18    Named Executive Officer Initial Equity Value ($) Number of RSUs (#)                 Date
                                                                                        February 15,
19    Sheryl K. Sandberg                     20,000,000            118,949(1)                   2019
                                                                                       November 15,
20    David M. Wehner                        20,000,000            118,949(1)                   2019
21    Mike Schroepfer                        20,000,000            118,949(1)          May 15, 2021
      Jennifer G. Newstead(2)                15,000,000              80,611          August 15, 2019
22

23
                   140. These statements in the 2020 Proxy were false and misleading for the same
24
      reasons alleged above with respect to the false statements in the 2019 Proxy.
25
                   141. The 2020 Proxy also contained a statement that Facebook’s compensation
26
      policies did not create undue risks to the Company:
27
28

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           Our management team and the compensation, nominating & governance
 1         committee each play a role in evaluating, monitoring, and mitigating any
           risk that may exist relating to our compensation plans, practices, and
 2         policies for all employees, including our named executive officers. In early
           2020, Compensia, the compensation, nominating & governance
 3         committeeʹs independent compensation consultant, performed an
           assessment, in conjunction with management, of our compensation plans,
 4         practices, and policies and concluded that our compensation programs do
           not create risks that are reasonably likely to have a material adverse effect
 5         on the company.
 6          142. This statement was false and misleading because it failed to disclose the
 7   substantial risks posed to the Company by Facebook’s discriminatory advertising
 8   practices. The Defendants knew that, contrary to Zuckerberg’s testimony to Congress
 9   in 2018, Facebook had not taken steps to eliminate the discriminatory practices, which
10   in fact continued unabated at the time of the 2020 Proxy.
11          143. The Defendants also knew that advertising revenues constitute 98% of the
12   Company’s revenues – obviously a highly material percentage since it is almost all the
13   Company’s revenues.       The Defendants also knew that advertising revenue was
14   increasing each year and thus only becoming more critical to the Company’s revenues,
15   profits, and operations. Facebook reported companywide ad revenue of $69.7 billion in
16   2020, up from $55 billion in 2018 and $17.1 billion in 2015.23
17          144. As one article noted:
18
           Facebook’s business model heavily relies on ads, as the majority of social
19         network’s revenue comes from advertising. In 2019, about 98.5 percent of
           Facebookʹs global revenue was generated from advertising, whereas only
20
           around two percent was generated by payments and other fees revenue.
21         Facebook ad revenue stood at close to 69.7 billion U.S. dollars in 2019, a new
           record for the company and a significant increase in comparison to the prior
22
           year.24
23

24

25         23 See Sahil Patel, “Facebook’s Tensions With Advertisers Predate the Boycott,” THE

26   WALL STREET JOURNAL, June 30, 2020.
           24 See “Facebookʹs advertising revenue worldwide from 2009 to 2019,” available
27   at           https://www.statista.com/statistics/271258/facebooks‐advertising‐revenue‐
     worldwide/#:~:text=In%202019%2C%20about%2098.5%20percent,increase%20in%20co
28   mparison%20to%20the, last visited July 1, 2020.

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           A.     Facebook’s Compensation, Nominating & Governance Committee
 1                Members Have Repeatedly Breached Their Fiduciary Duties to Ensure
                  Diversity on the Board
 2
            145. The Charter of the Compensation, Nominating & Governance Committee
 3
     states the following with respect to the duties of the Board members serving on such
 4
     committee:
 5
           The Compensation, Nominating & Governance Committee (the
 6         ʺCommitteeʺ) of the Board of Directors (the ʺBoardʺ) of Facebook, Inc. (the
           ʺCompanyʺ) through delegation from the Board, has principal
 7         responsibility to assist the Board with respect to compensation, director
           nomination and governance matters.
 8
           With respect to its compensation functions, the Committeeʹs purpose is to
 9         assist the Board with respect to compensation matters, including:
10         ● evaluating, recommending, approving and reviewing executive officer
           compensation arrangements, plans, policies and programs maintained by
11         the Company;
12         ● administering the Companyʹs equity‐based compensation plans and the
           Companyʹs bonus plan, whether adopted prior to or after the date of
13         adoption of this charter (the ʺCharterʺ) (including issuance of stock options
           and other equity‐based awards granted other than pursuant to a plan);
14         reviewing, assessing and making recommendations to the Board regarding
           non‐employee director compensation; and
15
           ● making recommendations to the Board regarding its remaining
16         responsibilities relating to executive compensation.
           With respect to its nominating and governance functions, the Committeeʹs
17         purpose is to assist the Board with respect to director nominations and
           corporate governance matters, including:
18
                  ● identifying, evaluating, and, in its sole authority, recommending
19         potential candidates for nomination to and membership on the Board and
           certain of its committees, including the Privacy Committee, once
20         constituted;
21               ● developing and recommending corporate governance guidelines
           and policies for the Company;
22
                  ● overseeing an annual evaluation of the Board and its committees;
23         and
24                ● advising the Board on corporate governance matters and Board
           performance matters, including recommendations regarding the size,
25         structure and composition of the Board and its committees.
26

27
28

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 1           146. The members of the Committee have breached their fiduciary duties as
 2   directors by failing to fulfill these duties. Rather than causing Facebook to comply with
 3   the principles it claims to follow with respect to its corporate governance, the Directors
 4   have caused Facebook to merely pay lip service to these principles.                              Instead of
 5   recommending well‐qualified Black and minority candidates to serve on Facebook’s
 6   Board, the Committee members have perpetuated a lack of diversity on the Board under
 7   the pretext that the existing members’ “experience” and long tenure on the Board is
 8   beneficial to Facebook.
 9           147. As the saying goes, the rich get richer while the poor get poorer. Serving
10   on Facebook’s Board has enriched the already‐rich elites whose profitable sinecure has
11   been perpetuated by the Defendants’ wrongdoing. Many qualified Black and minority
12   candidates would benefit greatly from the prestige and compensation that comes with
13   a position on Facebook’s Board. The following chart sets forth the compensation earned
14   by outside directors on Facebook’s Board in 2019:
15
      Director Name                  Fees Earned or Paid in Cash ($) Stock Awards ($)(1) Total ($)
16    Peggy Alford(2)                                           29,444            304,873   334,317
      Marc L. Andreessen(3)                                     70,000            304,873   374,873
17    Erskine B. Bowles(4)                                      29,167                 —     29,167
      Kenneth I. Chenault(5)                                    70,000            304,873   374,873
18
      Susan D. Desmond-Hellmann(6)                              92,500            304,873   397,373
19    Reed Hastings(7)                                          20,833                 —     20,833
      Peter A. Thiel(8)                                         50,000            304,873   354,873
20    Jeffrey D. Zients(9)                                     100,000            304,873   404,873
21
             148. The following chart sets forth the compensation earned by Facebook’s
22
     executives in 2019:
23
     Name and Principal    Fiscal     Salary                       Stock Awards       All Other
     Position              Year        ($)(1)       Bonus ($)(2)       ($)(3)      Compensation ($)      Total ($)
24
     Mark Zuckerberg       2019                 1            —               —           23,415,972(4) 23,415,973
25   CEO                   2018                 1            —               —           22,554,542(4) 22,554,543

26                         2017            1                —                —              9,101,965(4) 9,101,966
     Sheryl K. Sandberg    2019      875,385           902,740       19,678,923             5,687,099(5) 27,144,147
27
     COO                   2018      843,077           638,310       18,423,523             3,823,508(5) 23,728,418
28                         2017      795,769           640,378       21,072,431             2,687,643(5) 25,196,221

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     David M. Wehner        2019    785,385     809,928    19,678,923        59,800(6) 21,334,036
 1
     CFO                    2018    753,846     499,494    18,423,523          9,250 19,686,113
 2                          2017    711,539     633,317    21,072,431          9,000 22,426,287
     Mike Schroepfer        2019    785,385   1,295,885    19,678,923        52,784(7) 21,812,977
 3
     CTO                    2018    753,846     570,744    18,423,523          9,250 19,757,363
 4
                            2017    711,539    633,317     21,072,431          9,000 22,426,287
 5   Jennifer G.            2019    353,077 2,291,288(8)   16,309,218       183,162(9) 19,136,745
     Newstead
 6

 7
             B.        The Director Defendants Breached Their Duties of Loyalty and Good
 8                     Faith by Failing to Ensure the Company’s Compliance with Federal and
                       State Laws Regarding Diversity and Anti‐Discrimination
 9            149. The Director Defendants have known for years that Facebook has been
10   violating federal and state laws regarding anti‐discrimination in advertising, diversity,
11   and equal pay.
12            150. Defendants’ knowledge is reflected by the facts alleged herein
13   demonstrating that the Board had knowledge of serious deficiencies in these areas, yet
14   failed to take action.
15            151. Mr. Zuckerberg even represented to Congress in 2018 that Congress did
16   not need to pass laws to force Facebook to change, since Facebook was already fixing
17   the problems on its own. Yet, thereafter the problems persisted and even increased, as
18   for example discriminatory advertising continued to exist.
19            152. Eventually, a massive boycott of over 300 of the Company’s advertisers
20   was established in late June 2020 due to the Director Defendants’ persistent failure to
21   address lack of diversity, discriminatory advertising, and other serious problems at the
22   Company.
23
             C.        The Board Has Breached Its Duties by Failing to Ensure an Independent
24                     Chairman
              153. There is no independent Chairman of the Board at Facebook.             Mark
25
     Zuckerberg fills that role. Facebook purports to assign some significance to the fact that
26
     the Company has a Lead Independent Director. But Zuckerberg controls all aspects of
27
     the management of Facebook and owns a majority of the voting shares of the Company;
28

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 1   Facebook admits in its SEC filings that it is a “controlled company.” Zuckerberg is the
 2   face of the Company and dominates and controls all persons at Facebook, even the Lead
 3   Independent Director.
 4            154. Simply put, the Director Defendants had a fiduciary duty to ensure that the
 5   Chairman of the Board was independent. They have completely failed to do so, and
 6   their failure to do so has been a huge part of the problem, allowing the lack of diversity
 7   to continue at Facebook, both among the management ranks and on the Board itself. As
 8   demonstrated below, the lack of an independent Chairman at Facebook has also
 9   resulted in the massive boycott of advertising at the Company, which is highly material
10   to Facebook since advertising as a whole represents over 98% of the Company’s
11   revenues.
12          D.      The Director Defendants Have Breached Their Duties by Continually
                    Re‐Hiring Ernst & Young as the Company’s Auditor
13
              155. Ernst & Young is the Company’s auditor, and has been so since 2007 –
14
     thirteen years and counting.
15
              156. As Facebook’s Proxy Statement from 2020 disclosed, the following table
16
     sets forth the approximate aggregate fees billed to Facebook by EY for fiscal 2019 and
17
     fiscal 2018:
18
                           2019     2018
19    Audit fees(1)         $13,270 $10,857
      Audit-related fees(2)     575     805
20    Tax fees(3)             8,481   7,144
      All other fees(4)           9       5
21
      Total fees          $22,335 $18,811
22

23
              157. Despite billing Facebook over $23 million in fees in 2019, E&Y has
24
     completely failed to properly audit and assess the Company’s internal controls.
25
              158. Defendants Zients (Chair) and Andreessen, as the members of Facebook’s
26
     Audit & Risk Oversight Committee, are responsible for selecting and monitoring Ernst
27
     & Young. The Company’s 2020 Proxy states:
28

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                  The audit & risk oversight committee of the board of directors has
 1         selected Ernst & Young LLP to be our independent registered public
           accounting firm for the fiscal year ending December 31, 2020, and
 2         recommends that the stockholders vote for ratification of such
           appointment. Ernst & Young LLP has been engaged as our independent
 3         registered public accounting firm since 2007. The ratification of the
           appointment of Ernst & Young LLP as our independent registered public
 4         accounting firm for the fiscal year ending December 31, 2020 will be
           determined by the vote of a majority of the voting power of the shares
 5         present or represented at the 2020 Annual Meeting of Stockholders (Annual
           Meeting) and voting affirmatively or negatively on the proposal. In the
 6         event of a negative vote on such ratification, the audit & risk oversight
           committee will reconsider its appointment.
 7

 8          159. Defendants Zients and Andreessen, as the members of Facebook’s Audit &

 9   Risk Oversight Committee, also prepared and included a report in the 2019 Proxy as

10   follows:

11         REPORT OF THE AUDIT & RISK OVERSIGHT COMMITTEE OF THE
           BOARD OF DIRECTORS
12         This report of the audit & risk oversight committee is required by the
           Securities and Exchange Commission (SEC) and, in accordance with the
13         SECʹs rules, will not be deemed to be part of or incorporated by reference
           by any general statement incorporating by reference this proxy statement
14         into any filing under the Securities Act of 1933, as amended (Securities Act),
           or under the Securities Exchange Act of 1934, as amended (Exchange Act),
15         except to the extent that we specifically incorporate this information by
           reference, and will not otherwise be deemed ʺsoliciting materialʺ or ʺfiledʺ
16         under either the Securities Act or the Exchange Act.
17         The principal purpose of the audit & risk oversight committee is to assist
           the board of directors in its general oversight of our accounting practices,
18         system of internal controls, audit processes and financial reporting
           processes. The audit & risk oversight committee is responsible for
19         appointing and retaining our independent auditor and approving the audit
           and non‐audit services to be provided by the independent auditor. The
20         audit & risk oversight committeeʹs function is more fully described in its
           charter.
21
           Our management is responsible for preparing our financial statements and
22         ensuring they are complete and accurate and prepared in accordance with
           generally accepted accounting principles. Ernst & Young LLP (EY), our
23         independent registered public accounting firm for 2019, was responsible for
           performing an independent audit of our consolidated financial statements
24         and expressing an opinion on the conformity of those financial statements
           with generally accepted accounting principles and as to the effectiveness of
25         our internal control over financial reporting.
26         The audit & risk oversight committee has reviewed and discussed our
           audited financial statements for the year ended December 31, 2019 with
27         management and with EY. These audited financial statements are included
           in our Annual Report on Form 10‐K for the year ended December 31, 2019
28         (Annual Report).

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 1         The audit & risk oversight committee has also discussed with EY the
           matters required to be discussed by the applicable requirements of the
 2         Public Company Accounting Oversight Board (PCAOB) and the SEC.
           The audit & risk oversight committee also has received and reviewed the
 3         written disclosures and the letter from EY required by applicable
           requirements of the PCAOB regarding EYʹs communications with the audit
 4         & risk oversight committee concerning independence, and has discussed
           with EY its independence.
 5
           Based on the review and discussions described above, the audit & risk
 6         oversight committee recommended to the board of directors that the
           audited financial statements be included in the Annual Report for filing
 7         with the SEC.
 8         THE AUDIT & RISK OVERSIGHT COMMITTEE
           Marc L. Andreessen
 9         Kenneth I. Chenault
           Jeffrey D. Zients (Chair)
10
            160. E&Y has served as Facebook’s auditor since 2007, giving rise to a cozy and
11
     clubby relationship between E&Y and Facebook which is not conducive to effective
12
     auditing. The Company’s compliance with its stated policies concerning the alleged
13
     commitment to diversity and prohibition of discriminatory practices in advertising and
14
     other areas has been abysmal to the point of being basically non‐existent.
15
            161.   The very purpose of an auditor is to assess the Company’s internal controls
16
     and determining whether they are functioning effectively. Rather than doing so, Ernst
17
     & Young has wrongfully and consistently given Facebook’s internal controls a clean bill
18
     of health and has failed to point out the obvious – that Facebook lacks an effective
19
     system of internal controls to ensure that the Company is not discriminating against
20
     minorities and is complying with its stated goals and initiatives regarding the
21
     promotion of diversity and the avoidance of discrimination and harassment.
22
            162. Defendants Zients, Andreessen, and Bowles (Bowles was a member in
23
     2019), as the members of the Audit & Risk Oversight Committee, breached their
24
     fiduciary duties by failing to perform their duties on the Committee, including failure
25
     to ensure that an adequate audit was being performed of the Company’s internal
26
     controls regarding diversity, anti‐discrimination, anti‐harassment, pay equity, and
27
     other relevant areas of critical importance to the Company. They also signed the 2019
28

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 1   and 2020 Proxy Statements that contained false statements regarding the Company’s
 2   internal controls being effective and adequate, which were false and gave a very
 3   misleading and inaccurate portrayal of these key issues to stockholders.
 4                THE INDIVIDUAL DEFENDANTS’ FIDUCIARY DUTIES
 5   I.    General Duties as Directors and Officers
 6          163. By reason of their positions as Facebook’s officers and directors and
 7   because of their ability to control Facebook’s business and corporate affairs, the
 8   Individual Defendants owed Facebook and its shareholders fiduciary obligations of
 9   trust, loyalty, good faith, candor, and due care, and were required to use their utmost
10   ability to control and manage Facebook in a fair, just, honest, and equitable manner.
11   The Individual Defendants were required to act in furtherance of the best interests of
12   Facebook and its shareholders so as to benefit all shareholders equally and not in
13   furtherance of their personal interests or benefit.
14          164. Each director and officer owes to Facebook and its shareholders the
15   fiduciary duty to exercise good faith and diligence, as well as the highest obligations of
16   loyalty and fair dealing, in the administration of Facebook affairs and in the use and
17   preservation of its property and assets.
18          165. The Individual Defendants, because of their positions of control and
19   authority as Facebook’s directors and officers, were able to and did directly and/or
20   indirectly, exercise control over the misconduct complained of herein.
21          166. To discharge their duties as Facebook’s officers and directors, the
22   Individual Defendants were required to exercise reasonable and prudent supervision
23   over Facebook’s management, policies, practices, and controls of the affairs of the
24   Company. Accordingly, the Individual Defendants were required to:
25                a.     Manage, conduct, supervise, and direct the employees, businesses,
26         and affairs of Facebook in accordance with laws, rules, and regulations, as well as
27         the charter and by‐laws of Facebook;
28                b.     Ensure that Facebook did not engage in imprudent or unlawful

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 1         practices and that the Company complied with all applicable laws and
 2         regulations;
 3                c.      Remain informed as to how Facebook was, in fact, operating, and,
 4         upon receiving notice or information of imprudent or unsound practices, to take
 5         reasonable corrective and preventative actions, including maintaining and
 6         implementing adequate financial and operational controls;
 7                d.      Supervise the preparation, filing, or dissemination of any SEC
 8         filings, press releases, audits, reports, or other information disseminated by
 9         Facebook, and to examine and evaluate any reports of examinations or
10         investigations concerning the practices, products, or conduct of officers of the
11         Company;
12                e.      Preserve and enhance Facebook’s reputation as befits a public
13         corporation;
14                f.      Exercise good faith to ensure that the affairs of the Company were
15         conducted in an efficient, business‐like manner so as to make it possible to provide
16         the highest quality performance of its business; and
17                g.      Refrain from unduly benefiting themselves and other Facebook
18         insiders at the expense of the Company.
19          167. As senior executive officers and directors of a publicly‐traded company
20   whose common stock was registered with the SEC pursuant to the Exchange Act and
21   traded on NASDAQ, the Individual Defendants had a duty to disseminate accurate and
22   truthful information with respect to the Company’s operations, business, products,
23   management, and present and future business prospects; and to correct any previously‐
24   issued statements that had become materially misleading or untrue, so that the market
25   price of the Company’s common stock would be based upon truthful and accurate
26   information. The Individual Defendants’ misrepresentations and omissions during the
27   Relevant Period violated these specific requirements and obligations.
28

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     II.   The Duty of Reasonable and Prudent Supervision
 1
            168. The Individual Defendants are required to exercise reasonable and prudent
 2
     supervision over the management, policies, practices, and internal controls of the
 3
     Company. By virtue of such duties, the Individual Defendants are required to, among
 4
     other things:
 5
                 a.     refrain from acting upon material inside corporate information to
 6
           benefit themselves;
 7
                 b.     ensure that Facebook complies with its legal obligations and
 8
           requirements, including timely notifying its customers of material data
 9
           misappropriations and security vulnerabilities in its products and disseminating
10
           truthful and accurate statements to the investing public;
11
                 c.     conduct the affairs of the Company in an efficient, business‐like
12
           manner so as to make it possible to provide the highest quality performance of its
13
           business, to avoid wasting the Company’s assets, and to maximize the value of
14
           the Company’s stock;
15
                 d.     properly and accurately guide investors and analysts as to the true
16
           financial condition of the Company at any given time, including making accurate
17
           statements about the Company’s financial results and compliance with the law;
18
                 e.     remain informed as to how Facebook conducted its operations, and,
19
           upon receipt of notice or information of imprudent or unsound conditions or
20
           practices, make reasonable inquiry in connection therewith, and take steps to
21
           correct such conditions or practices and make such disclosures as necessary to
22
           comply with applicable laws; and
23
                 f.     ensure that Facebook was operated in a diligent, honest, and
24
           prudent manner in compliance with all applicable laws, rules, and regulations.
25
                             BREACHES OF FIDUCIARY DUTIES
26
            169. Each Individual Defendant owed to Facebook and to its shareholders the
27
     fiduciary duty of loyalty and good faith, and the exercise of due care and diligence in
28

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 1   managing and overseeing Facebook’s affairs, as well as in the use and preservation of
 2   its property and assets. The Individual Defendants’ misconduct involves a knowing
 3   and culpable violation of their obligations as directors and officers of Facebook, the
 4   absence of good faith on their part, or a reckless disregard of their duties that they were
 5   aware or should have been aware posed a risk of serious injury to Facebook. Each
 6   Individual Defendant ratified each other’s misconduct because they collectively
 7   comprised Facebook’s Board at all relevant times.
 8          170. The Individual Defendants each breached their duties of loyalty and good
 9   faith by allowing Defendants to cause, or by themselves causing, the Company to
10   engage in the conduct alleged herein.
11          171. In addition, as a result of the Individual Defendants’ actions and course of
12   conduct, the Company is now the subject of governmental investigations lawsuits, and
13   advertiser boycotts. As a result, Facebook has expended, and will continue to expend,
14   significant sums of money to rectify the Individual Defendants’ wrongdoing.
15                         CONTROL, ACCESS, AND AUTHORITY
16          172. The Individual Defendants, because of their positions of control and
17   authority, were able to and did, directly or indirectly, exercise control over the wrongful
18   acts complained of herein, as well as the contents of the various public statements issued
19   by Facebook.
20          173. Because of their advisory, executive, managerial, and directorial positions
21   with Facebook, each of the Individual Defendants had access to adverse, non‐public
22   information about the financial condition, operations, and improper representations of
23   Facebook.
24          174. Each of the Individual Defendants was the agent of each of the other
25   Defendants and of Facebook, and was at all times acting within the course and scope of
26   such agency.
27
28

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          CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
 1
            175. In committing the wrongful acts alleged herein, Defendants have pursued,
 2
     or joined in the pursuit of, a common course of conduct, and have acted in concert with
 3
     and conspired with one another in furtherance of their wrongdoing. Defendants further
 4
     aided and abetted or assisted each other in breaching their respective duties.
 5
            176. During the Relevant Period, the Individual Defendants collectively and
 6
     individually initiated a course of conduct that was designed to and did conceal the facts
 7
     alleged herein.   In furtherance of this plan, conspiracy, and course of conduct, the
 8
     Individual Defendants collectively and individually took the actions set forth herein.
 9
            177. The Individual Defendants engaged in a conspiracy, common enterprise,
10
     and/or common course of conduct. The Individual Defendants accomplished their
11
     conspiracy, common enterprise, and/or common course of conduct by causing Facebook
12
     to conceal from Facebook’s users and the investing public the unlawful facts alleged
13
     herein, including the fact that the advertising revenues that constitute 98% of the
14
     Company’s income were plagued by unlawful discriminatory practices in violation of
15
     federal and state law.    Because the actions described herein occurred under the
16
     authority of the Board, each of the Individual Defendants was a direct, necessary, and
17
     substantial participant in the conspiracy, common enterprise, and/or common course of
18
     conduct complained of herein.
19
            178. The purpose and effect of the Defendants’ conspiracy, common enterprise,
20
     and/or common course of conduct was, among other things, to conceal from its
21
     customers and shareholders the material vulnerabilities on Facebook’s platform and
22
     advertising practices, as well as the fact that the Company was not effectively
23
     complying with its policies and goals with respect to diversity and inclusion.
24
            179. Each Individual Defendant aided and abetted and rendered substantial
25
     assistance in the wrongs complained of herein. In taking such actions to substantially
26
     assist the commissions of the wrongdoing complained of herein, each Individual
27
     Defendant acted with knowledge of the primary wrongdoing, substantially assisted the
28

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 1   accomplishment of that wrongdoing, and was aware of his (or her) overall contribution
 2   to and furtherance of the wrongdoing.
 3                                DAMAGES TO FACEBOOK
 4          180. The Individual Defendants’ misconduct has caused extreme reputational
 5   damage to the Company. This is especially harmful to Facebook because the Company
 6   is built on customer and client trust. The Individual Defendants clearly breached this
 7   trust by acting in direct contravention of the Company’s publicly‐touted
 8   representations. This reputational harm has resulted in long‐term damage to the
 9   Company.
10          181. The illegal practices and the Individual Defendants’ gross failures to timely
11   address, remedy, or disclose them also severely damaged Facebook’s reputation within
12   the business community and in the capital markets, as evidenced by, for example, the
13   more than 300 advertisers who have boycotted Facebook — and the Individual
14   Defendants’ knowledge of or conscious disregard of it — since the problems were
15   revealed.
16          182. Further, Facebook’s customers and current and potential investors expect
17   the Company to promote diversity and to prevent discrimination in all its forms, and to
18   immediately discover and properly address discriminatory practices. The Company’s
19   advertisers and users are less likely to use websites that knowingly permit or encourage
20   unscrupulous behavior, and investors are less likely to invest in companies that lack
21   internal controls and fail to timely disclose material information. Facebook’s ability to
22   attract advertisers, users and investors is now impaired.
23          183. Further, as a direct and proximate result of Defendants’ actions, Facebook
24   has expended and will continue to expend significant additional money, including:
25   (a) costs incurred in defending against, and the potential settlement of, civil and
26   governmental lawsuits brought against the Company related to the discriminatory
27   practices; (b) loss of advertising revenue; and (c) costs incurred from the substantial
28   compensation and benefits paid to Defendants, who are responsible for the scheme.

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                                 DERIVATIVE ALLEGATIONS
 1
            184. Plaintiff brings this action for the benefit of Facebook to redress injuries
 2
     suffered as a result of the Individual Defendants’ breaches of fiduciary duties and
 3
     violations of federal and state laws.
 4
            185. Facebook is named solely as a nominal defendant. This is not a collusive
 5
     action to confer jurisdiction on this Court that it would not otherwise have.
 6
            186. Plaintiff is and has continually been a Facebook shareholder during the
 7
     entire period of wrongdoing alleged herein. Plaintiff therefore will adequately and
 8
     fairly represent the interests of Facebook in enforcing and prosecuting its rights.
 9
            187. Facebook’s Board at the time this action was initiated consisted of the
10
     following nine directors: Zuckerberg, Sandberg, Andreessen, Killefer, Travis, Thiel,
11
     Kimmitt, Houston, and non‐Defendant Alford. Plaintiff has not made any demand on
12
     the Board to institute this action against the Individual Defendants because, for the
13
     reasons set forth below, such demand would be a futile and useless act.
14
     I.    Demand Is Excused Because the Individual Defendants’ Conduct Did Not
15         Constitute a Valid Exercise of Business Judgment
16          188. Plaintiff did not make a demand on the Board prior to instituting this action
17   because any demand would have been a wasteful and futile act, and therefore demand
18   is futile. The wrongful acts complained of herein evidence a pattern of conduct showing
19   a wholesale abandonment of Defendants’ fiduciary duties. Those acts, which are
20   detailed above, include, inter alia: (a) maintaining policies that allowed advertisers to
21   violate federal and state laws prohibiting discrimination; (b) maintaining woefully
22   inadequate internal controls over the Company’s disclosures and governance practices;
23   and (c) causing Facebook to file materially false and misleading SEC filings.
24          189. These acts, and the other improper acts set forth in this Complaint, which
25   demonstrate a pattern of misconduct, were not the product of a valid or good faith
26   exercise of business judgment. Defendants Zuckerberg, Sandberg, Andreessen, Killefer,
27   Travis, Thiel, Kimmitt, and Houston all approved at least some of the wrongdoing.
28          190. Defendants’ misconduct at the heart of this case constitutes the direct

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 1   facilitation of violations of federal and state laws, including knowingly and consciously
 2   presiding over the Company’s systematic discriminatory practices in hiring, promotion,
 3   pay, inclusion, and advertising, as well as failing to stop the proliferation of hate speech
 4   on Facebook and concealing Facebook’s involvement in the illicit discriminatory
 5   scheme. Among other things, the Individual Defendants made, or caused Facebook to
 6   make, materially false or misleading statements, including in the 2019 & 2020 Proxy
 7   Statements, and Defendants Zuckerberg, Sandberg, Andreessen, Killefer, Travis, Thiel,
 8   Kimmitt, and Houston all directly approved at least some of the conduct and failed to
 9   cause the Company to stop the unlawful conduct despite being aware of red flags
10   demonstrating the violations of law.
11          191. Defendants’ repeated disregard of their responsibility to safeguard the
12   Company against wrongdoing indicate they knowingly adopted, endorsed, or
13   condoned a business strategy that incorporated the unlawful discriminatory practices
14   and hate speech in advertising and hiring/promotion/pay, which were not a legitimate
15   exercise of business judgment. Demand is therefore excused.
16   II.   Demand Is Excused Because the Individual Defendants Face a Substantial
           Likelihood of Liability Due to Their Knowledge or Conscious Disregard of
17         Facts Relating to the Unlawful Practices
18          192. Demand is also excused because the Individual Defendants face a
19   substantial likelihood of liability for the claims alleged against them in this complaint,
20   given their awareness or conscious disregard of significant red flags relating to the illicit
21   practices which allowed discrimination and hate speech.
22          193. The Individual Defendants were aware of the unlawful discriminatory
23   practices at Facebook but failed to address and correct the practices. In particular, the
24   Individual Defendants had affirmative obligations to oversee Facebook’s compliance
25   with federal and state anti‐discrimination laws.
26          194. All the Individual Defendants were aware of the complaint filed by HUD
27   regarding Facebook’s discriminatory advertising practices and yet failed to stop the
28   practices and actually allowed the unlawful advertising to increase.

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 1          195. The members of the Audit Committee consciously ignored their
 2   obligations as provided in the Audit Committee Charter, in addition to their duties
 3   imposed by law, because despite the numerous lawsuits, investigations, and reports
 4   asserting discrimination, which reflected failings in the Company’s internal controls,
 5   they did not cause Facebook to remediate those control deficiencies.           The Audit
 6   Committee’s deliberate failure of oversight constituted breaches of their fiduciary
 7   duties to Facebook and has resulted in significant harm to the Company.
 8          196. Further, the Audit Committee members were charged with ensuring the
 9   integrity of the Company’s financial statements and the adequacy and reliability of
10   disclosures to its stockholders, including the Company’s internal controls.             By
11   approving false financial statements and the false 2019 and 2020 Proxies, the Audit
12   Committee members breached their fiduciary duties of candor and loyalty.
13          197. The Board members on the Compensation Committee also allowed the
14   Company to pay huge amounts of money to the Company’s executives tied to the
15   achievement of financial metrics and goals, which would not have been achieved but
16   for the discriminatory advertising policies and other discriminatory conduct. They
17   therefore breached their duties of good faith and loyalty to the Company, excusing
18   demand.
19          198. Accordingly, there is significant doubt that the Individual Defendants are
20   disinterested because they face a substantial likelihood of liability for their breaches of
21   fiduciary duties, including their duties of good faith, fair dealing, and loyalty, as well
22   as other violations of law.
23          199. Given    their    membership    on   the   Audit    Committee     and/or   the
24   Compensation & Governance Committee, their respective responsibilities, and their
25   failures to meet them, the Individual Defendants face a substantial likelihood of liability
26   for the misconduct alleged in this Complaint, thus excusing the demand.
27          200. The entire Board had the duty to ensure Facebook’s systems were
28   sufficiently well‐designed to prevent discrimination in its advertising.      The Board’s

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 1   duty was heightened by the fact that the government had filed a complaint against
 2   Facebook in March 2019. Despite being sued, Facebook’s Board allowed the illegal
 3   advertising to continue and indeed proliferate. In short, the Board chose profits over
 4   compliance with the law, a blatant breach of the Director Defendants’ duties of loyalty
 5   and good faith. Because the Director Defendants cannot be indemnified for these
 6   breaches, they face a substantial likelihood of liability; demand is thus futile.
 7           201. The Board failed to fulfill its duty, and its failure is even more egregious in
 8   light of the many “red flag” warnings both before and during the Relevant Period that
 9   Facebook’s systems were not sufficient to address the misconduct at issue in this
10   Complaint. Given the Board’s awareness and deliberate concealment of the extent of
11   the discriminatory advertising and hate speech from the public, it is clear the Board
12   either deliberately or recklessly failed to take remedial actions to stop the practices that
13   allowed the illicit scheme to continue.
14           202. The Board’s egregious breaches of the duties of loyalty and good faith
15   eventually resulted in massive damage to Facebook in June 2020, as its own employees
16   engaged in a massive walkout in protest over the wrongdoing and over 300 of the
17   Company’s advertisers boycotted Facebook, materially harming the Company’s
18   revenues and profits and tarnishing its goodwill and image.
19           203. For these reasons, the Board is incapable or unwilling to take the actions
20   required to seek the relief requested in this Complaint. Because a majority of the Board
21   faces a substantial risk of personal liability, demand is futile.
22   III.   Demand Is Excused Because the Board Is “Controlled” by Defendant
            Zuckerberg and, thus, the Board Lacks Independence
23
             204. Demand is futile because the Board is dominated and controlled by
24
     Zuckerberg, who controls 59.7% of the voting power of the Company’s outstanding
25
     stock, and thus has majority voting power over all aspects of the Company.
26

27
28

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 1
                                                               Shares Beneficially Owned
                                                                                               % of Total
 2                                                            Class A            Class B        Voting
     Name of Beneficial Owner                               Shares      %     Shares       %    Power(1)
 3   Named Executive Officers, Directors, and Nominees:
     Mark Zuckerberg(2)                                     4,284,831    * 363,588,585 81.8            53.1
 4
     Shares subject to voting proxy(3)                             —    — 32,595,276 7.3                4.8
 5   Total(2)(3)                                            4,284,831    * 396,183,861 89.1            57.9
     Sheryl K. Sandberg(4)                                  1,341,376    *          —    —                *
 6   David M. Wehner(5)                                        72,304    *          —    —                *
 7   Mike Schroepfer(6)                                     1,027,456    *          —    —                *
     Jennifer G. Newstead(7)                                    9,995    *          —    —                *
 8   Peggy Alford(8)                                            2,033    *          —    —                *
     Marc L. Andreessen(9)                                    188,048    *          —    —                *
 9
     Kenneth I. Chenault(10)                                    3,717    *          —    —                *
10   Andrew W. Houston(11)                                        391    *          —    —                *
     Nancy Killefer(12)                                           270    *          —    —                *
11   Robert M. Kimmitt                                             —    —           —    —               —
     Peter A. Thiel(13)                                        11,561    *          —    —                *
12
     Tracey T. Travis(14)                                         270    *          —    —                *
13   Jeffrey D. Zients(15)                                      3,253    *          —    —                *
     All current executive officers and directors as a
14   group (15 persons)(16)                                 7,023,133    * 396,183,861 89.1            57.9
     Other 5% Stockholders:
15
     Dustin Moskovitz(17)                                          — —      32,595,276 7.3              4.8
16   Eduardo Saverin(18)                                    7,535,009   *   45,928,139 10.3             6.8
     Entities affiliated with BlackRock(19)               158,189,972 6.6           —    —              2.3
17   Entities affiliated with Vanguard(20)                184,022,113 7.6           —    —              2.7
     Entities affiliated with FMR LLC(21)                 123,626,512 5.1           —    —              1.8
18

19

20
               205. In fact, to ensure Zuckerberg’s voting control over the Company, the Board
21
     consistently recommended to shareholders, at annual meetings from 2014 to 2020, to
22
     vote against shareholder proposals that were designed to reduce Zuckerberg’s voting
23
     power by adopting a one‐vote‐per‐share policy.
24
               206. Moreover, the Company admits in its SEC filings that Facebook is a
25
     “controlled company,” with Defendant Zuckerberg possessing the controlling power.
26
     According to Facebook’s 2017 Proxy:
27
28

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                  Because Mr. Zuckerberg controls a majority of our outstanding
 1         voting power, we are a ʺcontrolled companyʺ under the corporate
           governance rules of the NASDAQ Stock Market LLC (NASDAQ).
 2         Therefore, we are not required to have a majority of our board of directors
           be independent, nor are we required to have a compensation committee or
 3         an independent nominating function. In light of our status as a controlled
           company, our board of directors has determined not to have an
 4         independent nominating function and to have the full board of directors be
           directly responsible for nominating members of our board.
 5

 6          207. Demand is futile and therefore excused as to the entire Board because of

 7   Zuckerberg’s domination and control of the voting power of the Company, and thus

 8   the Board. Due to his majority and controlling voting power, Zuckerberg can replace

 9   the entire Board if he so chooses. The Board thus lacks independence from Zuckerberg.

10          208. Additional Factors Demonstrating Zuckerberg’s Domination and

11   Control of Facebook. Zuckerberg’s majority voting control of Facebook is sufficient in

12   and of itself to demonstrate demand futility. But many additional facts demonstrate

13   Zuckerberg’s domination and control relevant to the present disputes and claims.

14          209. First, Zuckerberg has forced out supposedly independent directors who

15   have disagreed with him on issues framed by this complaint. Zuckerberg is not only

16   the founder of Facebook, but its “face” and driving force. All major decisions at

17   Facebook are made by Zuckerberg. Not even the supposedly independent directors at

18   Facebook have any say over important matters, except to the extent that they express

19   agreement with Zuckerberg.

20          210. The short tenures and unexpected departures of Kenneth Chenault and

21   Jeffrey Zients perfectly exemplify Zuckerberg’s absolute control and stifling of any

22   dissenting views.

23          211. In 2018, Facebook created the image that it was trying to diversify its all‐

24   white Board by hiring highly‐respected and experienced Kenneth Chenault to join its

25   Board. Chenault’s appointment gave Facebook the guidance of a highly regarded

26   finance executive and the first Black director on its all‐white board, USA Today reported

27   at the time. But then Chenault unexpectedly resigned in March of 2020 because he said

28   Zuckerberg was not listening to his advice.       See Jeff Horwitz, “Chenault Leaves


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 1   Facebook Board After Disagreements With Zuckerberg,” THE WALL STREET JOURNAL,
 2   March 13, 2020 (“Mr. Chenault grew frustrated that the CEO wasn’t taking his advice”).
 3   Chenault was forced out by Zuckerberg; Zuckerberg did not want to hear Chenault’s
 4   dissenting opinion, and quickly got fed up with having Chenault around and thus
 5   showed him the door.
 6          212. The same was true for Zients. When Zients stepped down from Facebook’s
 7   Board earlier this year (2020), news reports stated that Zients had similar views as
 8   Chenault and was forced off the Board at the same time as Chenault since Zuckerberg
 9   squelched his views or did not want to listen to them. As was reported by the Wall
10   Street Journal at the time of Zients’ departure from the Board:
11         Mr. Zients was generally aligned with Kenneth Chenault, another Facebook
           board member that recently gave up his seat, according to people familiar
12         with the matter. The Wall Street Journal reported earlier this month that Mr.
           Chenault resigned from the company’s board following disagreements
13         with founder and Chief Executive Mark Zuckerberg and other Facebook
           officials. They differed over governance at the company and its policies
14         around political discourse.25
15          213. In short, Facebook’s approach to diversity has been characterized by
16   tokenism: make a small gesture to satisfy appearances, but don’t make any underlying
17   substantial change. The message at Facebook is set at the top – by Zuckerberg alone,
18   with a subservient Board in tow.
19          214. Additional Facts: Defendants Andreessen and Thiel lack independence
20   from Zuckerberg and have demonstrated personal bias in favor of keeping founders in
21   control of the companies they created.
22          215. For Andreessen, this bias is deep‐rooted in his own experience. When he
23   and his partner, Ben Horowitz, were trying to get Loudcloud, a company that they co‐
24   founded on its feet, the venture capitalist providing their funding advised Horowitz to
25   cut Andreessen out of the project altogether. Andreessen is still so resentful about that
26   experience that when he and Horowitz founded their own venture capital firm,
27           25 See Jeff Horwitz, “Facebook Nears Complete Board Overhaul With Latest Exit

28   Jeffrey D. Zients won’t seek reelection after joining the board in 2018 as an independent
     director,” THE WALL STREET JOURNAL, Mar. 26, 2020.

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 1   Andreessen Horowitz, they “set out to design a venture capital firm that would enable
 2   founders to run their own companies” without interference from the financial backers.
 3          216. Andreessen lacks independence from Zuckerberg for the additional reason
 4   that his association with Zuckerberg has led Andreessen and his firm to some highly
 5   lucrative deals in the past few years. Specifically, Andreessen Horowitz has seen two
 6   of its portfolio companies purchased by Facebook — Instagram and Oculus VR.
 7          217. Andreessen turned his firm’s $250,000 investment in Instagram into $78
 8   million when the $1 billion acquisition by Facebook closed.
 9          218. Andreessen also would not have even been able to invest in Oculus VR
10   without Zuckerberg. Andreessen had declined to invest in the company previously,
11   but desperately wanted in by the fall of 2013, according to an October 2015 Vanity Fair
12   article. When Oculus VR’s CEO seemed reluctant to allow the investment, Andreessen
13   had Zuckerberg talk to the CEO. As a result, Andreessen Horowitz got the deal and
14   Andreessen became one of four board members for the fledgling company. Not very
15   long after, Zuckerberg offered $2 billion for Facebook to acquire Oculus VR.
16          219. Andreessen knows that his firm’s access to the best investments — its “deal
17   flow” — relies heavily on his relationship with Zuckerberg and Facebook. In a May 18,
18   2015 New Yorker article titled “Tomorrow’s Advance Man,” Andreessen is quoted as
19   saying that “Deal flow is everything. If you’re in a second‐tier firm, you never get a
20   chance at that great company.” Andreessen Horowitz saw its biggest successes after
21   “logo shopping” to add Facebook to the firm’s portfolio in 2010. Within two years of
22   that investment, “Andreessen Horowitz was the talk of the town.”
23          220. Defendant Thiel’s venture capital fund, The Founders Fund, is marketed
24   on the principle that company founders should have long‐term control of the companies
25   they create. In fact, The Founders Fund’s website touts Facebook as a primary example
26   of that maxim, stating that “we have often tried to ensure that founders can continue to
27   run their businesses through voting control mechanisms, as Peter Thiel did with Mark
28   Zuckerberg and Facebook.”

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 1          221. Thiel, like Andreessen, is greatly benefited by his relationship with
 2   Zuckerberg and his seat on the Facebook Board. The Founders Fund gets “good deal
 3   flow” from this high‐profile association.
 4                                     CLAIMS FOR RELIEF
 5                                            COUNT I
                                       Breach of Fiduciary Duty
 6                         Against All Individual Defendants and Does 1–30
 7          222. Plaintiff incorporates by reference and realleges each and every allegation
 8   contained above, as though fully set forth herein.
 9          223. The Individual Defendants and Does 1–30 owed and owe the Company
10   fiduciary obligations.      By reason of their fiduciary relationships, the Individual
11   Defendants owed and owe the Company the highest obligation of good faith, fair
12   dealing, loyalty, and due care.
13          224. The Individual Defendants and Does 1–30, and each of them, as a result of
14   the facts alleged herein, violated and breached their fiduciary duties of candor, good
15   faith, and loyalty.
16          225. As a direct and proximate result of the Individual Defendants’ and Does 1–
17   30’s breaches of their fiduciary obligations, the Company has sustained significant
18   damages, as alleged herein. As a result of the misconduct alleged herein, defendants
19   are liable to the Company.
20                                            COUNT II
                            Aiding and Abetting Breach of Fiduciary Duty
21                         Against All Individual Defendants and Does 1–30
22          226. Plaintiff incorporates by reference and re‐alleges each of the preceding
23   paragraphs as if fully set forth herein.
24          227. Each of the Individual Defendants aided and abetted the other Individual
25   Defendants in breaching their fiduciary duties owed to the Company.
26          228. The Individual Defendants owed the Company certain fiduciary duties as
27   fully set out herein. By committing the acts alleged herein, the Individual Defendants
28   breached their fiduciary duties owed to the Company.

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 1             229. Each of the Individual Defendants colluded in or aided and abetted the
 2   other Individual Defendants’ breaches of fiduciary duties, and actively and knowingly
 3   participated in the other Individual Defendants’ breaches of fiduciary duties. Each of
 4   the Individual Defendants knew about or recklessly disregarded the other Individual
 5   Defendants’ breaches of fiduciary duty, which were and are continuing, as set forth in
 6   particularity herein.
 7             230. The Company was injured as a direct and proximate result of the
 8   aforementioned acts.
                                            COUNT III
 9                                       Abuse of Control
                                   Against Defendant Zuckerberg
10
               231. Plaintiff incorporates by reference and realleges each and every allegation
11
     contained above, as though fully set forth herein.
12
               232. By virtue of his positions and financial holdings at the Company,
13
     defendant Zuckerberg exercised control over the Company and its operations, and
14
     owed duties as a controlling person to the Company not to use his positions of control
15
     for his own personal interests and contrary to the Company’s interests.
16
               233. Defendant’s conduct alleged herein constitutes an abuse of his ability to
17
     control and influence the Company, for which he is legally responsible.
18
               234. As a result of Defendant’s abuse of control, the Company has sustained
19
     and will continue to sustain damages and injuries for which it has no adequate remedy
20
     at law.
21
               235. Because the acts of Defendants were done maliciously, oppressively, and
22
     with intent to defraud, Plaintiff on behalf of the Company is entitled to punitive and
23
     exemplary damages in an amount to be shown according to proof at the time of trial.
24
     ///
25
     ///
26
     ///
27
28

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                                              COUNT IV
 1                                        Unjust Enrichment
                           Against All Individual Defendants and Does 1–30
 2
            236. Plaintiff incorporates by reference and realleges each and every allegation
 3
     contained above as though fully set forth herein.
 4
            237. By their wrongful acts and omissions, the Individual Defendants were
 5
     unjustly enriched at the expense of, and to the detriment of, the Company.
 6
            238. During the Relevant Period, the Individual Defendants either received
 7
     annual stipends, bonuses, stock options, or similar compensation from the Company
 8
     that was tied to the financial performance of the Company or received compensation
 9
     that was unjust in light of the Individual Defendants’ bad faith conduct.
10
            239. Plaintiff, as shareholder and representative of the Company, seeks
11
     restitution from the Individual Defendants and seeks an order from this Court
12
     disgorging all profits, benefits, and other compensation, including any performance‐
13
     based compensation, obtained by the Individual Defendants due to their wrongful
14
     conduct and breach of their fiduciary duties.
15
            240. Plaintiff, on behalf of the Company, has no adequate remedy at law.
16
                                          COUNT V
17            Violation of Section 14(a) of the Exchange Act and SEC Rule 14a‐9
                             Against All Individual Defendants
18
            241. Plaintiff incorporates by reference and re‐alleges each allegation contained
19
     above, as though fully set forth herein, except to the extent those allegations plead
20
     knowing or reckless conduct by Defendants. This claim is based solely on negligence,
21
     not on any allegation of reckless or knowing conduct by or on behalf of Defendants.
22
     Plaintiff specifically disclaims any allegations of, reliance upon any allegation of, or
23
     reference to any allegation of fraud, scienter, or recklessness with regard to this claim.
24
            242. SEC Rule 14a‐9 (17 C.F.R. § 240.14a‐9), promulgated under Section 14(a) of
25
     the Exchange Act, provides:
26
                  No solicitation subject to this regulation shall be made by means of
27         any proxy statement form of proxy, notice of meeting or other
           communication, written or oral, containing any statement which, at the
28         time and in the light of the circumstances under which it is made, is false or

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           misleading with respect to any material fact, or which omits to state any
 1         material fact necessary in order to make the statements therein not false or
           misleading or necessary to correct any statement in any earlier
 2         communication with respect to the solicitation of a proxy for the same
           meeting or subject matter which has become false or misleading.
 3

 4          243. Defendants negligently issued, caused to be issued, and participated in the

 5   issuance of materially misleading written statements to stockholders that were

 6   contained in the 2019 & 2020 Proxy Statements. The 2019 & 2020 Proxy Statements

 7   contained proposals to the Company’s stockholders urging them to reelect the members

 8   of the Board, approve executive pay packages, and vote against stockholder proposals

 9   for the Company to adopt a True Diversity Board Policy and a proposal regarding

10   Workplace Diversity, to appoint an independent Chairman, and to appoint a

11   Human/Civil Rights expert to the Board. The 2019 & 2020 Proxies, however, misstated

12   or failed to disclose the following information, among others:

13               (a)    the deficiencies in the Company’s internal and disclosure controls

14         that were known to the Board when the 2019 & 2020 Proxies were filed;

15               (b)    the fact that the Company was not committed to diversity and

16         inclusion in the Company’s workforce, and was in fact discriminating against

17         Black and minority candidates with respect to hiring, promotion, and pay, and

18         that the Company’s advertising conduct from which it derives 98% of its revenues

19         was plagued by illegal business practices prohibited by federal and state law;

20               (c)    that it was not true that Facebook promotes equality through its

21         hiring, pay and promotions processes, and that the Individual Defendants did not

22         genuinely believe the statements in the Proxies that Facebook is “committed to a

23         policy of inclusiveness and to pursuing diversity in terms of background and

24         perspective” and that “Our board of directors believes that its composition

25         appropriately reflects the knowledge, experience, skills, diversity, and other

26         characteristics required to fulfill its duties” and that “We are committed to

27         building a workforce that is as diverse as the communities we serve;”

28               (e)    the Defendants did not believe, and it was not true, that “We believe


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 1         that our current board structure is effective in supporting strong board leadership.
 2         Implementing the proposal [to require an independent Chairman] is unnecessary
 3         because the leadership structure of our board of directors already provides for
 4         independent leadership and oversight of management.”
 5          244. The Defendants knew of, but failed to disclose, fraudulent business
 6   practices at Facebook that put the Company at material risk — namely, discriminatory
 7   hiring and compensation practices as well as discriminatory advertising practices. Had
 8   this information been disclosed, shareholders would not have voted to reelect Board
 9   members, approve executive compensation packages, and reject an independent board
10   chairman.
11          245. By reasons of the conduct alleged herein, Defendants violated Section 14(a)
12   of the Exchange Act and SEC Rule 14a‐9. As a direct and proximate result of Defendantsʹ
13   wrongful conduct, the Company misled or deceived its stockholders by making
14   misleading statements that were an essential link in stockholders heeding the
15   Companyʹs recommendation to reelect the current Board and vote against stockholder
16   proposals set forth in the Proxy Statements.
17          246. Plaintiff, on behalf of the Company, seeks injunctive and equitable relief
18   because the conduct of the Individual Defendants interfered with Plaintiffʹs voting
19   rights and choices at the 2019 & 2020 annual meetings. Plaintiff does not seek any
20   monetary damages for the proxy law violations.
21          247. This action was timely commenced within three years of the date of the
22   2019 Proxy and within one year from the time Plaintiff discovered or reasonably could
23   have discovered the facts on which this claim is based.
24                                    PRAYER FOR RELIEF
25          WHEREFORE, Plaintiff prays for judgment in favor of Plaintiff and Facebook
26   and against all Defendants as follows:
27          A.    Against all of the Defendants, jointly and severally, and in favor of the
28   Company for the amount of damages sustained by the Company along with pre‐ and

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 1   post‐judgment interest as allowed by law resulting from Defendants’ breaches of
 2   fiduciary duty, abuse of control, and gross mismanagement;
 3          B.    Directing the Company to take all necessary actions to reform and
 4   improve its corporate governance and internal procedures to comply with applicable
 5   laws and to protect the Company and its shareholders from a repeat of the damaging
 6   events described herein, including, but not limited to, putting forward for shareholder
 7   vote, resolutions for amendments to the Company’s By‐Laws or Articles of
 8   Incorporation and taking such other action as may be necessary to place before
 9   shareholders for a vote of the following Corporate Governance Policies:
10                (1)    a proposal to require at least three current Directors to resign from
11         the Board and setting forth a resolution to replace such Directors with two Black
12         persons and one other minority;
13                (2)    a proposal to replace Mark Zuckerberg as Chairman with a non‐
14         executive director who is independent;
15                (3)    a proposal to require all Director Defendants to return all their 2020
16         compensation received from Facebook (including any stock grants), and donate
17         the money to an acceptable charity or organization whose efforts include the
18         advancement of Black people and minorities in corporate America;
19                (4)    augmentation of the annual Diversity Report to contain more
20         particularized information and the hiring, advancement, promotion, and pay
21         equity of all minorities at Facebook;
22                (5)    creation of a $1 billion fund to hire Black and minority employees,
23         promote them to more management positions at the Company, establish and
24         maintain a mentorship program at Facebook for Black and minority employees
25         that is committed to providing the skills and mentorship necessary to succeed in
26         corporate America;
27                (6)    requirement of annual training of Facebook’s entire Board and all
28         executive officers, which training should at a minimum focus on diversity,

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 1         affirmative action, anti‐discrimination and anti‐harassment, and other relevant
 2         topics;
 3                   (7)    a proposal to adopt a revised executive compensation program that
 4         makes 30% of executives’ compensation tied to the achievement of the diversity
 5         goals;
 6                   (8)    a proposal to replace Ernst & Young as the Company’s auditor;
 7                   (9)    a proposal to strengthen the Board’s supervision of operations and
 8         develop and implement procedures for greater non‐controlling shareholder input
 9         into the policies and guidelines of the Board;
10                   (10)   a proposal to strengthen Facebook’s oversight of its procedures
11         regarding the termination of employees, executives, and board members accused
12         of discrimination;
13                   (11)   a proposal to eliminate the use of Non‐Disclosure Agreements at the
14         Company so that current and former employees can report any and all instances
15         of suspected discrimination without threat of legal action; and
16                   (12)   a proposal to eliminate the use of mandatory arbitration for
17         employee disputes and claims of wrongful termination and discrimination.
18          C.       Extraordinary equitable and/or injunctive relief as permitted by law,
19   equity, and state statutory provisions sued hereunder, including attaching,
20   impounding, imposing a constructive trust on, or otherwise restricting the proceeds of
21   Defendants’ trading activities or their other assets so as to assure that Plaintiff on behalf
22   of Facebook has an effective remedy;
23          D.       Awarding to Facebook restitution from Defendants, and each of them, and
24   ordering disgorgement of all profits, benefits, and other compensation obtained by
25   Defendants;
26          E.       Awarding punitive damages at the maximum amount permitted by law;
27          F.       Awarding to Plaintiff the costs and disbursements of the action, including
28   reasonable attorneys’ fees, accountants’ fees, experts’ fees, costs, and expenses; and

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 1          G.    Granting such other and further relief as the Court deems just and proper.
 2
                                          JURY DEMAND
 3

 4          Plaintiff demands a trial by jury on all issues so triable.

 5
     Dated: July 2, 2020                              Respectfully submitted,
 6                                                    BOTTINI & BOTTINI, INC.
                                                      Francis A. Bottini, Jr. (SBN 175783)
 7
                                                      Albert Y. Chang (SBN 296065)
 8                                                    Yury A. Kolesnikov (SBN 271173)
 9                                                           s/ Francis A. Bottini, Jr.______
                                                                Francis A. Bottini, Jr.
10

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                                                      La Jolla, California 92037
12
                                                      Telephone: (858) 914‐2001
13                                                    Facsimile: (858) 914‐2002
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                                                      achang@bottinilaw.com
15                                                    ykolesnikov@bottinilaw.com
16                                                   Attorneys for Plaintiff Natalie Ocegueda
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                                                     VERIFICATION
                     I, Natalie Ocegueda, declare:

                     I am a shareholder of Facebook, Inc. (“Facebook”) and have continuously held my shares

           of Facebook stock since May 21, 2012. I have read and reviewed the Shareholder Derivative

           Complaint and authorized its filing. Based upon my and my counsel’s investigation, the contents

           of the Shareholder Derivative Complaint are true to the best of my knowledge, information and

           belief.

                     I declare under penalty of perjury that the foregoing is true and correct. Executed on July

           1, 2020.


                                                                              Natalie Ocegueda
